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"i"‘~“ r* a -

}r_ gm §§ §;" >'.h

§ ill in this information to identify your case: § q ~J_~;, gm g

._ n o
JD_CAL~…R §Q /.%o<"?;l ti \L tila in a 1 19 ~,0

irs ama r e arne st ame ` ~':~: '"'€_) t h _~ 3
(DS::L:;.`ZMW) Fivsmame undue Name Lasmame 55,§;§5=""{ U.$ B;iHl-{F;{_;FYCY FUU, .
, ` . . . . "“"~@`L§_ fli$`fii,»'cr ar rptr 1 §

Un\fed S\afes Bankrupfcy Courlforthe: Centra| Dlstrict of Callfornla 13 . emma

El Check if this is an
amended filing

Cese number § °` \?\'_ B\C` O;D)£g’l ` R(;:

(lf known)

 

Oflicial Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical |nformation 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; men complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box,at the top of this page.

` . l ' ¢- Summarize Your Assets
`qq(\ .Your assets `~

\B’A Value of what you own
1. Schedule A/B: Property (Oflicial Form 106AlB)

 

 

 

 

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B .. $
1b.' Copy line 62, Total personal property, from Schedule A/B... ................. $
1c. Copy line 63, Total of all property on Schedule A/B .......................................... ..... $
` l@ummarize Your Liabilities
V_
Your liabilities

_ Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Of'iicial Form 1060)
2a. Copy the total you listed in Co'umn Al Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $

3. Schedule E/F: Creditors Who Have Unsecured Claims (Oflicial Form 106ElF)

 

 

 

 

 

3a Copy the total claims from Part 1 (prion'ty unsecured claims) from line 6e of Schedule E/F ............................................ $
3b. Copy the total claims from Part 2 (nonprion'ty unsecured claims) from line 61 of Schedule E/F ....................................... + $
, Your total liabilities $
- Summarize Your lncome and Expenses
4. Schedule l: Yo'urlncome (Oflicial Form 106|)
_, Copy your combined monthly income from line 12 of Schedule l .......................................................................................... 5
l
` ` 5. Schedule J: Your Expenses (Ofticial Form 106J)
Copy your monthly expenses from line 220 of Schedule J ...................... . $

 

 

 

 

Ofticia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

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Debtor1 F_‘ §§ l>e ` § y aiding Na(me §§ § n § La§'s`(QName §§ §§ 2§ §; l, a "L Case number (irknown) ?"g 'B\C" szq| "' RJ

Answer These Questions for Administrative and Statistical Records

 

 

6. `Are you filing for bankruptcy under Chapters 7, 11, or 137

n No. You have nothing to report on this part of the fonn. Check this box and submit this form to the court with your other schedules.
Yes
3

 

` 7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

§ 'El Your debts are not primarily consumer debts. You have nothing to report on this part of the fonn. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
'Frorn hart 4 on Schedule E/F, copy the following:
$ 25
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $._5_____
$Q_
5

9d. Student loans. (Copy line 6f.) $

Qa. Domestic support obligations (Copy line 6a.)

 

9c. Claims for death or personal injury while you were intoxicated (Copy line 60.)

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ A-

priority claims. (Copy line 69.) ___
9f. Debts to pension or profit-sharing plansl and other similar debts. (Copy line 6h.) + $ ®`

eg. Total. Add lines 9a through 9f. ` $BL__

 

 

 

 

 

 

 

Oflicial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnfonnation page 2 of 2

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Deb\0f1 AQBD_QMRO_A_D_\; Case number (rrknown) § " `g"" bk‘ 03 zq § " QCT

First Name Middle Name Las! Name

. _ § §
What ls the property? Check a" that aPPlV- Do not deduct secured claims or exemptions. Put §
n ' _ - the amount of any secured claims on Schedule D:
Smgle fam|ly home Creditors Who Have Claims Secured by Froperty.

"‘”" "" "`1.

1.3.

 

 

 

 

 

 

 

 

 

 

 

 

Street address, if available, or other description n Duplex or multi-unit building »-~ -- - » »- ~~ - ---» - - ----~ ~s~~» _--;
§;| Condom§nium or cooperative Current value of the Current value of the §
cl ll/lanufactured or mobile home ` entire property? portion you own?
§ cl Land $ $ §
§ m lnvestment property §
§ City State ZIP C°de m T§ m e Share Describe the nature of your ownership §
m interest (such as fee simple, tenancy by §
the" _ the entiretiesl or a life estate), if known. §
§ Who has an interest in the property? Check one. §
§ a Debtor1 only §
County m Debtor 2 only §
§ Cl Debtorl end peeler 2 only n Che¢_k if this is community property §
§ n At least one of the debtors and another (See mstmct'ons) *
l l
§ Other information you wish to add about this item, such as local `
§ property identitication number:
l ,
l 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
§ you have attached for Part 1. Write that number here. ...................................................................................... ')

 

 

l

Describe Your Vehicles §

l
l
l
ll

 

Do you own, lease, or have legal or equitable interest' ln any vehicles, whether they are registered or not? lnclude any vehicles
_ 3y0u own that someone else drives. |f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

§ 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

No

Cl Yes §
§ 3.1. Make! who has an mterest m the Pr°Perty? Check °ne- l Do not deduct secured claims or exemptions. Put \
§ the amount of any secured claims on Schedule D: §
§ Model: a Debt°r 1 only Creditors Who Have Claims Secured by Property '
§ _ n Debtor2 only ~ --~ ---- »-~- -~» - =~» '~- »- -

_l Year- a Debt°r 1 and Debtor 2 only Current value of the Current value of tide l
' ~ - . entire ro ? ortion ou own? l
§ Approxlmate m'|eage' ___ n At least one of the debtors and another p perry p y l
g

l Other information: §
,} cl Check if this is community property (see $ $ l
§ instructions) §
§ l
§ l
§ - lf you own or have more than one, describe here: §
§ 3_2_ N|ake; Wh° has an 'nterest m the Property? Check °ne- 3 Do not deduct secured claims or exemptions. Put §
l the amount of any secured claims on Schedule D: §
§ Model: a Debt°r 1 only Creditors Who Have Claims Secured by Property.

 

n Debtor2 only _ » -. ~_3

 

 

Yeari a D 61wa and Debtor 2 only Current value of the Current value of the §
. . _ entire ro e ? ortion ou own?
Approx‘mate m'|¢age~ ____ n At least one of the debtors and another p P rty p y
Other information: .
n Check if this is community property (see $ $

 

 

 

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instructions) § § '
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omeial Form 1oeA/e schedule AlB: Prop'orcy page 2

Offlcial Form 106A/B

Case 8218-bk-03291-RCT DOC 10 Filed 05/10/18

-\L

Debtor 1 7
First ama Midd Last Name
3 3 Make: Who has an interest in the_ property? Check one.
Modei; El Debtor1 only
Year. n Debtor 2 only

Cl Debtor1 and Debtor 2 only

Approximate mileage U At least one of the debtors and another

 

Other inforrnati_on:
' n Check if this is community property (see

 

 

 

instructions)

3 4 Make: Who has an interest in the property? Check one.
Model: n Debtor1 only
Year" n Debtor 2 only

m Debtor 1 and Debtor 2 only

Approximate mileage n At least one of the debtors and another

Other information:

 

cl Check if this is community property (see
instructions)

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

CI No

U Yes

4_1_ Make; Who has an interest in the property? Check one.
Model: cl Debtor1 only
Year. Cl Debtor2 only

n Debtor 1 and Debtor 2 only

Other informati°n: a At least one of the debtors and another

 

L_.l Check if this is community property (see
instructions)

 

 

 

lf you own or have more than one, list here:

4.2. Make:
Model: cl Debtor1 only
cl Debtor2 onl
Year: y

cl Debtor1 and Debtor 2 only

Other inf°m‘ati°n: n At least one of the debtors and another

 

|;l Check if this is community property (see
instructions)

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

you have attached for Part 2. Write that number here

Who has an interest in the property? Check one.

Page 4 of 59

Case number (irkmwn$" i &` 'B`<-»° 032-q l “"QQ/T

~.__ __~ »..\__.._,_....__. _‘. ___.. .,,'.....,,._.._..... -\

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D.‘
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the l
entire property? portion you own? 1

i
l
l
y
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l
l
l

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D: l
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put

l
l
l
l
the amounth any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the l
entire property? portion you own?

l
$ $ f
l
l

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x
¢

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property. ,'

Current value of the Current value of the l
entire property? portion you own? t

 

Schedule AIB: Property

 

page 3

Case 8:18-bl<-03291-RCT DOC 10 Filed 05/10/18 Page 5 of 59
Case number (irknawn) ;>; \Q"'\{\ \(:' O?>zci (_\'ZG_

Debtor1 AO\(W\ CXCLl ) d@ f`\%(\ C\\`Z-`Z @\L

Flrst Name Midd|e Name Last Neme

Describe Your Fersonal and Household ltems

 

' Do you own or have any legal or equitable interest in any of the following items?

jg , ., .
,~ 6. Household goods and furnishings
E amples: Major appliances, fumiture, linens, china, kitchenware

Current value of the
portion you own?

Do not deduct secured claims
or exemptions. l

 

No
Cl Yes. Describe........T

 

 

 

7. Electronics

§ Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
‘ collections; electronic devices including cell phones, cameras,' media players, games

No

 

.! n Yes. Describe ..........

 

 

 

8. Collectibles of value

Examples: Antiques and tigurines; paintings, prints, or other artworl<; books, picturesl or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

` 0

 

 

 

 

l
ij Yes. Describe ..........
t
l
l

; 9. Equipment for sports and hobbies
i Examples: Sports, photographicl exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes

 

§ y and kayaks; carpentry tools; musical instruments
~ No

l El Yes. Describe ..........

 

 

 

g 10.Firearms
x mples: Pistols, rifles, shotguns, ammunition, and related equipment

 

l U°

n Yes. Describe .......... )

 

 

 

11.Clothes
>§Flp/es: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
No

 

 

l n Yes. Describe ..........

 

 

12.Jewelry

t Examples: Everydayjewelry, costume jewelry, engagement ringsl wedding rings, heir|oom jewelry, watches, gems,
"‘ gold, silver

 

Cl Yes. Describe....' ......

 

 

 

l
g No
\
l
l

j 13. Non-farm animals
ll Examples: Dogs, cats. birds, horses

§ MNo

 

l:l Yes. Describe ..........

 

 

 

14.Any other personal and household items you did not already list1 including any health aids you did not list

Mo

 

infonnation. .............

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

l El Yes. Give specific
l

for Part 3. Write that number here

 

 

 

 

 

Officia| Form 106A/B Schedule AlB: Property

Debtor 1

First Name

Case 8:153-bl<-03291-R'C`l;3 DOC 10 Filed 05/10/18 Page 6 of 59
Case number (irknawn)%" \?' %K'O 3 _z~cl \ ’“ RQ,T

' d

Middle amc Last Name

mscribe Your Financial Assets

4 Do you own or have any legal or equitable interest in any of the following?

f
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v
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`L\

 

Current value of the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

portion you own?
Do not deduct secured claims
or exemptions.
16.Cash »
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
No
n Yes Cash: ....................... $
17. Deposits of money .
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
' and other similar institutions. lf you have multiple accounts with the same institutionl list each.
>dsNO
n Yes ..................... institution name:
\
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account $
17.5. Certificates of deposit $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account $
17.9. Other financial account: $
1a. Bonds,'mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No
.)
a Yes ................. institution or issuer name:
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
No Name of entity: % of ownership:
L_.l Yes. Give specific %
information about
them %
%
Official Form 106A/B Schedule AIB: Property page 5

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Debtor1 §Q`! ls ] ;)(\§ gzd£ § lt }l! `Q`§§¢Y__

First Name Middie Name Last Name

0

Case number (irunawn) 3 ."?’\B\C-" ngq ) " QQ/T

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negofiab/e instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Yes. Give specific issuer name:

f information about

'i them ....................... $

l $

l $

l

l

§ 21. Retirement or pension accounts

§ Exa ples: interests in lRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

i _ o

§ cl Yes. List each

§ account separateiy. Type of account institution name:

l

I 401 (k) or similar plan: $

l

§ Pension plan: $

§ iRA: $

l

l Retirement account $

l Keogh: $
Additionai account $
Additionai account $

22.Security deposits and prepayments

_, Your share of all unused deposits you have made so that you may continue service or use from a company

i' Examples: Agreements with landlordsl prepaid rentl public utilities (eiectric, gas, water), telecommunications

’ companies, or others

No
m Yes .......................... institution name or individuai:

Eiectric:

l $

§ Gas: $

i Heating oil: $
Security deposit on rental unit $
Prepald rent $
Telephone: $
Water: $
Rented fumiture: $
Other: $

; .Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

§ No n

§ n Yes .......................... issuer name and description:

l

t $

l

l $.

-‘L $

 

Officiai Form 106A/B

Schedule AIB: Property

page 6

Case 8:18-bk-03291-RCT DOC 10 Filed 05/10/18 Page 8 of 59
Debtor1 Y\ b '\, Case number (irknnwn)%"\% "%\L" OB-Z.c\\ ` €C:T

First ame Middie Name Last Nam

 

 

: 24.interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

§
§
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1
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1
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5 B.Tax refunds owed to you
. No

No
a Yes """"""""""""""""""" institution name and description. Separateiy file the records of any interests.11 U.S.C. § 521(0):

z z 26 u.s.c. §§ 530(b)(1), 529A(b), and 529(b)(1).

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers

exercisable for your benefit
we ~

Cl Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Ex mples: intemet domain names, websites, proceeds from royalties and licensing agreements

No

Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Exa ples: Bui|ding pen'nits, exclusive licenses, cooperative association holdings, liquor iicenses, professional licenses

 

 

 

 

No
Yes. Give specific .
information about them.... $
'; Money Or Property owed to you? _ current value or the

g portion you own?
Do not deduct secured
claims or exemptions.

 

cl Yes. Give specific information Federal.
about them, including whether `
you already filed the returns State:
and the tax years. ....................... L°cal_

 

 

 

29 Family support
g Examples: Past due or lump sum alimony, spousal support, child support, maintenancel divorce settlement property settlement

 

 

 

 

 

n ¥es. Give specific information ..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement $
Property settlement $
30. Other amounts someone owes you
Examples: Unpaid wagesl disability insurance payments, disability benefits, sick payl vacation pay, workers’ compensation,
l Sociai Security benefits; unpaid loans you made to someone else
No
l:l Yes. Give specific information ...............
$

 

 

 

 

Official Form 106A/B Schedule NB: Property page 7

 

Case 8:18- bl<- 0329- RCT DOC 10 Filed 05/10/18 Page 9 of 59
Debtor1 \O\Q_\(\C 03 0 DAQ, (\)Shc BL Case number (irknawn§$"- \% " %\<-" O:})-LC\\ "' RQ;\_

Firs ama Middie Name Last Name

,_»._.___~ _..».»~__M__ss__-.__~»__¢~___w._. ..»_» -__ __,_ .,._ ._.. .__-..,.»`,_,.._ _`_~__._.,`-_ ____, ..”_-,~_____..._.._.._, ~»__.‘_ .._...__.,__._......_`,` .,_____V__...__..._.__., M.,_,~___.c_ ____.,"_._ _.~_._ __ \

1. interests in insurance policies
Exa ples: Heaith, disability, or life insuranoe; health savings account (HSA); credit, homeownefs, or renter’s insurance

No

m Yes' Name the ipsuranc? °?mpany Company name: d Beneficiary: Surrender or refund value:
of each policy and list its value. .

 

 

 

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i

' l 32. _Any interest in property that is due you from someone who has died j
if you are the beneficiary of a living tmst, expect proceeds from a life insurance policyl or are currently entitled to receive §
roperty because someone has died. l

No
Yes. Give specific information ..............

  

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment

wosz Accidents, employment disputes, insurance claims, or rights to sue
i
o

El Yes. Describe each claim. ....................

 

 

 

 

to et off claims
No
El ¥es. Describe each claim. ....................

Yi Enanciai assets you did not already list
i No

El Yes. Give specific information ............ s

.` 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights 1

 

 

 

 

 

 

 

 

 

S.Add the dollar value of all of your entries from Part 4 including any entries for pages you have attached
for Part 4. Write that number here -) $

 

 

 

 

Describe.Any Business-Related Property You 0wn or Have an lnterest ln. List any real estate in Part 1. :'

 

i

No. Go to Part 6.

l
t
.Do you own or have any legal or equitable interest' in any business-related property? '
l
El Yes. co 10 iine 38. l

Current value of the
portion you own?

Do not deduct secured claims '
or exemptions.

38.Accounts receivable or commissions you already earned

n No
U Yes. Desciibe ....... 1

 

 

39. Office equipment1 furnishings, and supplies
Examples: Buslness-reiated computers, sonware, modems printers. copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

l:l No
a Yes. Describe ....... $

 

 

 

 

(_.._., .~_.1_-_.,.__ __ _._'.,».__…,_ _.w_` »,`..

1_ ..___...._-..,- __.-.

 

Ochial Form 106A/B Schedule NB: Property page 8

Case 8:18-bl<-03291-RCT DOC 10 Filed 05/10/18 Page 10 of 59
ll \L Case number (ilimawn) 82 \ ax * %\(# 9 O?-)zcl id RQT

  
 
 

Debtor 1

 

Middle Name

 

FiistName
§ # l
§ 40. Machinery, fixtures, .equipmenf, supplies you use in business, and tools of your trade

n No .
Cl Yes. Describe ....... ' $

 

 

 

 

41.|nventory
' _ Cl Yes. Describe ....... $

 

 

42. interests in partnerships orjoint ventures

m No

a yes' Describe """" Name of entity: . % of ownership:
% $
%
% $ . _ _____§

 

w .

 

43. Customer lists, mailing lists, or other compilations
m No
El Yes. Do your lists include personally identifiable information (as delined in 11 U.S.C. § 101(41A))?

n No
EI Yes. Describe........

 

69

 

 

 

44.Any business-related property you did not already list
E\ No

Cl Yes. Give specific
information .........

 

 

 

 

 

99€9€6$$€9

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here ')

 

 

 

 

_1~ , ___ m ..... _1
1

Describe Any Farm- and Commercial Fishing-Related Froperty You own or Have an lnterest ln.
lf you own or have an interest in farmland, list it in Part1.

 

§ 46. o ou own or have any legal or equitable interest in any fa`rm- or commercial fishing-related property?

§ No. Go to Part 7. ' »- -

§ Cl Yes..eo to line 47. _

;Current value of the
portion you own? §
.Do not deduct secured claims §

 

 

 

 

 

orexemptions. w >_

47. Farm animals ' §
Examples: Livestock, poultry, farm-raised fish §

n No §
cl Yes .......................... 1 §

$ i

§

42

 

Ofl'icial Form 106A/B Schedule AlB: Property page 9

l
1

List the Totals of Each Part of this Form

Case 8:18-bl<-032-91-RCT DOC 10 Filed 05/10/18 Page 11 of 59

Debtor 1

Case number (iiimawn) §§ \Y ` B\C' 0 ?)zq \ "’ \zQ,-\_

 

Fust Name Middle Name Last Name

; 48. Crops-either growing or harvested

UNo

 

n Yes. Give specific
information .............

 

 

 

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

ClNo

 

Cl Yes ..........................

 

50. Farm and fishing supplies, chemicals, and feed

UNO

 

n Yes ..........................

 

 

 

51 . Any farm- and commercial fishing-related property you did not already list

ClNo

 

n Yes. Give specific
information .............

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

for Part 6. Write that number here

 

 

Part 7:

 

 

 

Describe All Property You Own or Have an lnl:erest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?

 

xamples: Season tickets, country club membership
` § No

El Yes. Give specific
information .............

 

 

 

54.Add the dollar value of all of your entries from Part 7. Write that number here

 

 

 

 

 

 

 

55.Part1: Total real estate, line 2
55. Part 2: Total vehicles, line 5
57.Part 3: Total personal and household items, line 15

58. Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45

60. Part 6: Total farm- and fishing-related property, line 52

61 . Part 7: Total other property not |isted, line 54

62.Total personal property. Add lines 56 through 61. ....................
63.Total of all property on Schedule AlB. Add line 55 + line 62.

Official Form 106A/B

 

 

i-~~ f ¢#_i~~~;t
$__@_ Copy personal property total 9 + $ 3

 

 

Schedule AIB: Property

 

 

 

 

Case 8:18-bl<-03291-

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§ ill in this information to identify your case and this filing:

 

 

Debtor 1 .

First ame Middle Name Last Name
Debtor 2
(Spouse, il lilirig) mm Name Middie Name Lasi Name

United States Bankruptcy Court for the: Centl'al DiStl'iCt Of Ca|lfOl'nla

Case number z‘.§\<:¢’ B\<'_"'C?) zq \" RQ:\_

 

lmbescribe Each Residence, Bui|ding, Land, or Other Real Estate You Own or Have an lnterest ln

...x .~. ~_. _....~`1--...`_..__._.. .t_.-1 ...~__ _.a»._

 

Official Form'106A/B

 

Schedule AlB: Property

12I15

 

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

El check if this is an
amended filing

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Cl No. Go to Part 2.
Cl Yes. Where is the property?

.LL\;N§M\_._M§

Street address, if available, or other description

 

C?&. /?`e'-X,Qr bState _:Lode

3370%
§ §/1' Wl \\G.,§

County'

lf you own or have more than one, list here:

 

 

 

1 .2. '
Street address, if avallable, or other description
City State ZlP Code

 

County

_;`__

~ hat ls the property? Check an that app|y' .Do not~deduct secured claims or exemptions. Put
Single-family home ’ the amounth any secured claims on Schedule D: §
n Duplex or multi-unit building cree/tom Wh° Hav§ Cla”"s_ Se_cured by Pmpeny' §
n C°"d°m'"'um °’ °°°Pe"at"/e _» Current value of the Current value of the
n Manufactured`or mobile home enti[e prop_erty?,oo portion yoig}.wn? §
' » _. _ 1

Cl Land " _Z;JQ/Cdj $ ~-> ;'7 '

m lnvestment property

|;| T§meshare " Describe the nature of your ownership
§] Oth _ interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.

 

MDebtor 1 only

[:l Debtor2 only

§;§ Debtor1 and Deb§br 2 On§y El check if this is community property

l:l At least one of the debtors and another (See mstruct|ons)

Other information you wish to add about this item, such as local
property identification number:

 

What is the property? Check all that app|y.

Cl' Duplex or multi-unit building

.;...ew_¢ s `;-,.-_~ 4_~.-»_»_`..-»¢¢ w .-_-...\;se.»,_

 

_`,._DO not deduct secured claims or exemptions Put
m Sing|e-fami|y home .' the amount of any secured claims on. Schedule D.'
f Creditors Who Have'QIaims Secured by Property.

e_.`-¢

 

n COndOminium 0\’ COOP€rafiVe Current value of the Current value of the §
cl - Manufactured or mobile home entire Prope¢`fy? ' P°"ti°n you °Wn?
n Land $ $ §
m lnvestment property §
n T§meshare Describe the nature of your ownership

interest (such as fee simple, tenancy by
n Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.

 

n Debtor1 only
n Debtor 2 only

n Debtor1 and Deber 2 0an n Check if this is community property

Cl- At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

 

Official Form 106A/B

Schedule AIB:y Property

page 1

Case 8:18-bk-03291-RCT DOC 10 Filed 05/10/18 Page 13 of 59

Fill in this information to identify your case:

Debtor 1 4 _
First Name Middle Name

Debtor 2
(SpOuSe, if filing) Fi'rst Name Middle Name Last Name

 

United States Bankruptcy Court for the: Centl'al DiSfriCt Of CalifOrl'lia

Case number 8 -' \g` @>\’_'-" 03 201 \~’ QC-'T § El Check if this is an

(ifknown) ' _ amended filing

 

Official Form 1060 _ . §
Schedule C: The Property You Claim as Exempt ~ 4116

Be as complete and accurate _as p'ossible. lf two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B.' Property (Official Form 106AlB) as your source list the property that you claim as exempt lf more
space is needed, f ll out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known). .

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds--may be unlimited in dollar amount. However, if you claim an exemption of100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount. .

ldentify the Property You Claim as Exempt
i
;, 1. Which set of exemptions are you claiming? Check one onlyl even if your spouse is filing with you.

§ l:l You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
l;l ¥0u are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

§ 2. For any property you list on Schedule A/B that you claim as exempt, f'i|| in the information below.

Brief description of the property and line on Current value of the § '.l}mount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own § , § v
§. ' ‘ ` ‘ Copy the value from f `Check only one box for each exemption.
‘ '_5j_ Schedule A/B ' . " . _
§g;;n.p§on \}\Gn\o)`:>§:c@@ $ -,,_270, 000‘2§'9
Line from §$100% of fair market value, up to
§ Schedule A/B; . ~._anv applicable statutory limit
§ _
? Brief . §
-description: ~ ____ $ n $
Line from . l:l 100% of fair market valuel up to
Schedule A/B_- _' ` any applicable statutory limit
Brief
§ description: $ m $
: - l:l 100% of fair market value, up to
1 Line from
` Schedule A/B_- any applicabie statutory limit

 

§ 3. Are you claiming a homestead exemption of more than $160,375?
§ (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

a No ' .
D Yes. Did you amuire the property covered by the exemption within 1,215 days before you filed this case?

ClNo

Yes

Official Form 106C § Schedule C: The Property You Claim as Exempt . page 1 of _

Case 8:18-bk-03291- RCT DOC 10 Filed 05/10/18 Page 14 of 59

odom C\/ %ez\ ©,\L Case,.umbemm,w",%"~l%~l%\<~ 037/661 near

First Name Middle Name Last NarU

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Page
§ l relief des¢|'ipfion Of'the property and line |C`urrent'va|ue of they ’ Amount of the_ exemption you claim ` Specific laws that allow exemption :-
on Schedule A/_B that lists this property portion you own § f 1 v ' §_` § § . 1 . ' '
, n 7 n ' ' Copy`the value f_rom `_ Check only one box for each exemption
' _ *' ' ,S_c./zed~l¢A/B‘ ' ~ ' ~~
Brief
description: --__--_-_ $ n $
Line from n 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief 4
description: $ m $
Line from m 100% of fair market value, up to
Schedule A/B: _- any applicable statutory limit
Brief
description: _--_--_ $ n $
Line from m 100% of fair market value, up to
Schedule A/B_' __ any applicable statutory limit
Brief
description: $ El $ -
Line from El 100% of fair market value, up to
Schedul¢_ A/B . any applicable statutory limit
Brief
description: ' $ n $
Line from El 100% of fair market value, up to
Schedule A/B,- _ _ any applicable statutory limit
Brief
description: ___ $ _ n $
Line from L_.\ 100% of fair market value, up to
Schedule A/B: _ any applicable statutory limit
Brief .
§ description: ~__-___- $ ' El $.
1 Line from ' a 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description: $ . m $
Line from _ l:l 100% of fair market value, up to
Schedule A/B,- __ _ any applicable statutory limit
Brief
description: 7 $ cl $
Line from El 100% of fair market value, up to
Schedule A/B_- _ any applicable statutory limit
Brief
description: $ n $
Line from . a 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief _
description: __._--_ $ m $
Line from l:l 100% of fair market value, up to
Schedule A/B; ___ any applicable statutory limit
Brief
description: $ cl $
Line from n 100% of fair market value, up to
Schedule A/B_- __ any applicable statutory limit

 

 

Official Form 1060 Schedule C: The Property You Claim as Exempt ' page __ of_

Case 8:18-bk-03291-RCT DOC 10 Filed 05/10/18 Page 15 of 59

Fill in this information to identify your case:

Debtor 1

Fit Name ‘1-dleName

Debtor 2
(Spouse, iffiilng) First Name » Middle Name ' Last Name

 

united states Bankruptcy court rnr the: Central District of California

Case number § \% " O%lq l ‘_' g C_JT . . .
rtrknewnt 4 El Check if this is an
amended filing

 

 

thcial Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additiona| Page, fill it out, number the entries, and attach it to this fon'n. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
§Yes. Fill' 1n all of the information belovv.

 

m List A11 secured claims

 

 

 

 

MM st.t>etere\ee¢e\art seams

As of the date you tile,`t¥)e claim is: Check all that apply.
cl Contingent

\O~XY\m ¥` 33(0'5(‘\ n Un|iquidated

 

 

 

City State ZlP Code a Disputed
Who owes the debt? Check one. Nature of lien Check all that apply_
D€bior 1 On|l/ m An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
El Debtor 1 and Debt°r 2 only n Statutory lien (such as tax lien, mechanic's lien)
n At least one of the debtors and another m Judgmenf lien from a lawsuit

Cl other (inctuding a right to offset)
l:l Check if this claim relates to a

community debt

» »- § " § § ' lCo/umn A § Column B b ii Column C
2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount of claim 1 Value of collateral; t Unsecured
7 for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that Suppons thisi portion
v As much as possible, list the claims in§ alphabetical order according to-the creditor's name. ' v ~ value of colla§e§a§_ ;c|a,m ;§f any
EM;_®§_AMLC?§L Describe the property that secures the claim: $ 17€1+(07 2, 543 g SC), 0000
Creditor's Name b a\$ N? no 6.\»'7 iq E &,\O`w\ ed

 

 

 

 

 

 

 

Date debt was incurred Last 4 digits of account number___ _ _ _
-2-£] ‘ , ' 3 \ . Describe the property th:at secures the claim: $ $ $
_ C'°d“°s "“`"“’ §§ § ! 24 2\'5 Ni\"ta ST- NE `\f\ow\£_
§ Number Street ' 5\`- (\>€.,)\'€,(`S`O of`Ot "%\’K?>?>"(O'~
§ (_-\ m {>&_C § \ 2- As of the date you file, the claim is: Check all that apply.

 

n Contingent

O\'\ ?\YMLC‘> ti*i zl?u Cl uniiquidated

 

city state ziP code n Disputed
Who owes the debt? Check one. Nature of lien. cheek a11 that appiy.
D€bfor 1 Oniy cl An agreement you made (such as mortgage or secured
n Debtor 2 only car loan) §
l;| Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic's lien)
Cl At least one of the debtors and another a Judgmem "en from a lawsuit

n Other (including a right to offset)
L_.l Check if this claim relates to a
community debt

Date debtwasincurred_A 4 b Last 4digits of account number_

 

 

Add the dollar value of your entries in Column A on this page. Write that num_ber here: , l$

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of

 

Case 8:18-bl<-03291-RCT Doc 10 Filed 05/10/18 Page 16 of 59

Case number tirknownt ? '.l%°‘ bl<,'©% aq l - 12 e)(

Debtor 1

 

Middle Name

 

 

 

 

 

 

 

t 1
era nS Clll'e
After listing any entries on this page, number them beginning with 2.3, followed Do :ol:';ed°u; ;';“ thaa:'::p§;::§,t: this por§?o§§
by 2.4, and so forth. _y§lgegj collateral. ¢lalmr _____(m |f any
A \ _ Describe the property that secures the claim: $ $ $
Credltor`s Name _ _
ZS`O¢§ 5 \‘lciof`l@m Attg, QlS' 'l\ll'(t?t ‘;5\’ Nl_: \’\om&
Number Street
5\' 'Pe’t€cs lott m ”"H ‘P\'?a“lo\>r

 

 

 

As of the date you file, the olath\' ls: Check all that apply. _

:l 13 §@£§§£h I§ §QOY£[ n Contingent

 

 

 

State ZlP Code Un|iquidated

El Disputed
Who owes the debt? Check one. Nature of lien. cheek air that appiy.
l:l Debl°l' 1 only n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
E| Debtol- 1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic's lien)
El At 1east one or the debtors and another Cl Judgmenf lien from a lawsuit

C| other (inoiuding a right to orrset)
l:l Check if this claim relates to a

community debt
Date debt was incurred Last 4 digits of account number_ _ __ _
.£‘_lA "` ` r~ la§scrihe the property that secures the claim: $ $ $
Credltor‘s Name

 

5023 36 1519 st toto lo a‘$”‘“@f~"* "l'¢’/ m“"*”'
Number Street ‘c CJ& ',\>Q_,'\Q(`S\\{)(" m ?.\%.Koq

As of the date your f` le theélaim is: Check all that apply.
n Contingent

§ Wi `_§ t A f § QQ 114 %%i§l bn Un|iquidated

State ZlP Code n D§spu§ed
Who owes the debt? Check one.

 

 

 

 

 

m Nature of lien. Check all that apply.
Debtor1 only l:l An agreement you made (such as mortgage or secured
Debtor 2 only car loan) '
Deblor 1 and Debfor 2 Only l:l Statutory lien (such as tax lien, mechanic's lien)
At least one of the debtors and another l:l Judgment lien from a lawsuit

l:l Check if this claim relates to a cl Other (mc'udmg a nght to offset)

community debt

 

 

 

 

 

Date debt was incurred Last 4 digits of account number __ _ _
Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street

 

 

 

 

As of the date you file, the claim is: Check all that apply.
n Contingent

 

city state er code El Un|iquidated
Cl Disputed
Wh° owes the debt? Check °ne- Nature of lien. Check all that apply.
,l:l"Debtor 1 only l;l An agreement you made (such as mortgage or secured
Debtor 2 only car loan)
Debtor1 and Deblor 2 only n Statutory lien (such as tax lien, mechanlc's lien)
l:l At reast one or the debtors and another l;l Judsmer\f lien from a lawsuit

El other linoiuding a right to orrset)
l:l Check if this claim relates to a

community debt

Date debt was incurred Last 4 digits of account number_

 

Add the dollar value of your entries in Column A on this page. Write that number here: $

lf this' rs the last page of your form, add the dollar value totals from all pages.
Writ_e that number here: $

Official Form 1060 Additional Page of Schedule D: Creditors.Who Have Claims Secured by Property page _ of___

 

 

 

 

CB.S€ 82f|.S-lj)l<-O?>ZQf|_-RCTl DOC 10 Filed 05/10/18 Page 17 Of 59

      
   

Debtor 1

dd e Name ‘ ~ Last Name

Debtor 2 .
c (SpOuSe, if flllng) First Name ' Middle Name v l Last Name

 

United States Bankruptcy Court for the: Central District of California

Case number %‘ \%"»' RY," O?§zc( \ "' RQ/T

(lf known)

Official Form 106E/F
l-Sched_ule ElF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORITY claims and Part 2 for creditors with NONPRIOle claims.
List the other party t_o any executory contracts or'unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B:Property(OfficialForm'106AlB) and on Schedule G: Executory Co_ntracts~an`d Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy th`e Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuatlon Page to this page. On the top of
any additional pages, write your name and case number (if known).

Cl check if this is an
' amended filing

 

 

 

j imList All of Y_our PR|OR|TY Unsecured ¢laims

 

1. Do any creditors have priority unsecured claims against you? '
No. Go to Part 2.
_U_ Ye_s_.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify What type of_ claim it' is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible. list the claims` 1n alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, t` ll out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors' m Part 3. '

;(For an explanation of each type of claim, see the instructions for this form' in the instruction booklet )

 

 

 

 

 

 

 

 

 

§ Total claim Priority Nonpriority
ti..c__i.s___~_-,§L“_O_l_l.!!f_..._@§!\lg.l_l!\_f_,_ _ . t
2.1 . _ .
Last 4 digits of account number _ _ _ _ $ $ $
Priority Creditor‘s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
city state ziP code n C°nti"ge"t
_ 13 uniiquidaied
Who incurred the debt? Check one. n Disputed
n Debtor1 only v
a Debfvr 2 0an Type of PR|OR|TY unsecured claim:
g Debtor1 and Debwr 2 only n Domestic support obligations
At least one of the debtors and another l:l Taxes and certain other debts you owe the government 1
n check 'f th's clalm ls for a community debt n Claims for death or personal injury while you were
is the claim subject to offsei? 4 '"f°>"°@fed
n No , n Other. Specify
El Yes
il Last 4 digits of account number _ _ _ _ $ ‘ $ $
Priority Creditors Name

 

 

l_Nhen was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply. _
n Contingent

city state ziP code U Unllquidated

who incurred the debt? check one. m Disp“fed

l:l Debtor1 only

n Debtor 2 only 1
m Debtor1 and Debtor 2 only i
n At least one of the debtors and another

Type of PR|OR|TY unsecured claim:
m Domestic support obligations
n Taxes and certain other debts you owe the government

El Check if this claim` is for a community debt 0 Cla'ms for death or personal mqu wh'le you were

 

 

intoxicated
ls the claim subject to offset? n Other. Specify
n No t '
El Yes

 

 

Official Form '106ElF v _ _ l Schedule EIF: Creditors Who Have Unsecured Claims ` _ page 1 of_

t

Debtor 1

FirstName&\ (\Middle me LastN ame

Case ':8&() bl<-O 29¢1:§(5|§€;\"

Filed 05/10/18 Pa

Case number (ifkricwrii

DO\C]_

mem PRloRlTY unsecured claims - continuation Page

Yi?-O

lotz-03 zal ~ tic“i“

 

 

 

 

 

 

" Total claim

 

 

 

 

 

 

 

 

 

 

Priority Creditor‘s Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

Cl Debtor 1 only

El Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one ortho debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?
El No

 

When was the debt incurred?

_ As of the date you file, the claim is: Check all that apply.

a Contingent
El unliquidated
a Disputed

Type of PR|Ole unsecured claim:

n Domestic support obligations '
El Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

Cl other. specify

 

After listing any entries `ori this page, number them beginning with 2.3, followed by 2.4, and.so forth.‘ § Priority Nonpriority
. , . g amount amount
` Last 4 digits of account number _ _ _ _ $ $ $
Priority Creditor's Name
When was the debt incurred?
Number Street w
As of the date you file, the claim is: Check all that apply.
n Contingent
city state zlP code l;l Un|iquidated
n Disputed
Who incurred the debt? Check one. _
Cl Debtor1 only Type of PRlOR|TY unsecured claim:
g :e::or 2 onng b 2 l El Domestic support obligations
e on an e mr on y cl Taxes and certain other debts you owe the government
cl At least one of the debtors and another . . . .
l n Claims for death or personal injury while you were
Cl Check if this claim is for a community debt 'm°X'°a!ed
El other. specify
ls the claim subject to offset?
l:l No
n Yes
` , Last 4 digits of account number _ _ _ _ $ $ 5
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
city state zlP code El Un|iquidated
n Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PR|OR|TY unsecured claim:
m Debtor 2 only n Domestic support obligations
l:l Debtor1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
n At least one of the debtors and another . . .
n Claims for death or personal injury while you were
El Check if this claim is for a community debt 'm°X'°ated
n Other. Specify
ls the claim subject to offset?
n No
cl Yes
Last 4 digits of account number _ 3 $ $

 

 

 

 

n Yes

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

page _ of

8-bk-0329§-R
g

Caseé$;kp
Debtor1 §. xi Y\ ‘/"

 

First Name Middle Name § \-’ "

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…mi,%e<-'Ji§?f Yl<-oza@< i areas

 

Your NONPR|OR|T¥ Unsecured Claims - Continuation Page

 

 

 

 

 

ii ° ' l 4 c q u g
Nonprlori Creditor‘s Name
39 Str t k ‘ O`(` \L ` 50
F% 0 cl ‘i n \\(T O (o`/ OO q
City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor2 only

l:l Debtor1 and Debtor 2 only

m At least one of the debtors and another

U Check if this claim is for a community debt

ls the claim subject to offset?

n No
l:l Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

§ Total claim

si,c)<@<t@

Last 4 digits of account number

When was the debt incurred? § 6 § `

As of the date you file, the claim is: Check ali that apply.

n Contingent
El unliquidated
cl Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out cfa separation agreement or divorce that
you did not report as priority claims

El Debts to pension,o“)r tit-sharing plani, and oth fimilar debts
Q(other. specify \_ ;i€f\\` f'Pr F \"d \‘ v.

 

 

 

Nonprlen'ty Creditor‘s Name
»'
` /
395 l\/ic.i n ala
Number Street
` l l l ¢ ,A vi
City State ZlP Code

Who incurred the debt? Check one.

h Debtor 1 only

n Debtor 2 only

l:l Debtor1 and Debtor 2 only

n At least one of the debtors and another

El cheek ii this claim is for a community debt

ls the claim subject to offset?

g No
n Ves

Commo 0 w de O`/`M Ei\/\OJ\C£ akast 4 digits of account number _ _ _ _

n Debts to pensio profit-sh ring plans,' nd other similar debts
ge Other.Specify E!SQ §§ §§ § §§ :AH 5

\sQata§

,~¢

When was the debt incurred?a a § l

As of the date you ti|e, the claim is: Check all that apply.

El Contingent
n Un|iquidated
El Disputed

Type of NONPRIOR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

 

" N_Q.(PC\%'& Cnrr\rm\ 51_//` §

on oiity Creditors Name

31< Sti§t¢ea+aa let

Number
»_QX{Q£S¢QQ/`,- 2d1 g!j& ()£O{QA
City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

m At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

m No
El ¥es

 

n Debts to pension or profl sharin%Blansl and other similar debts
tQ»other. specify §§ 315 g §§ ¢)§ zf(jg L\C_Q_¢

0
.. sl_o£il§_~
Last 4 digits of account number _

When was the debt incurred? 30 § q

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
Cl Disputed

Type of NONPRIOR|TY unsecured claim:

l:l Student loans

El Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

 

 

Official Form 106ElF

Schedule EIF: Creditors Who Have Unsecured Claims

page _ of _

Debtor 1

First Name ‘ Middle Name Last Name

FW§B\OZZLSBRCET DOC 10 FiledO

5/10/18 Pag§ 20 of
Case number iitirncwni

13 5999<`>939 \£tjr

 

must All of Your NONPQ!|TY Unsecured Claims

Yes

claims fill out the Continuation Page of Part 2.

§ desist one

 

 

 

Nonprioiity dedltci‘s Name
506 Cro itc/t one 'Dr
gumber Street
?ytit)mmm\(§ VC,L, QZ)Q\'B<R

 

State ZlP Code

Who incurred the debt? Check one.
EDebtor 1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

s the claim subject to offset?
No
El Yes

3. Do any creditors have nonpriority unsecured claims against you?
n No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claiml list the creditor separately for each claim. For each claim listed, identify what type.of claim it is. Do not list claims already -
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

Last 4 digits of account number _

Z.OH

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans v

cl Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or prot'i -s|:ringm plans, a d other similar debts
m Other. Specify Q/

g Total claim

s seeds

 

Nonpriority Creditoi’s Name
/

ij tecuch chLsi`n\c)

Number Street

Staie ZlP Code

City

Who incurred the debt? Check one.

El Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?
m No
a Yes

MMA_QG_!§§_LA._§_\__\LO_, ' "?>`

Last 4 digits of account number
When was the debt incurred?

:'Z._Q:o’i_

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

El Debts to pension or profit-sharing plans, and other similar debts

al Other.Specify V@Yi l'(` \'O 110 56

s ,~;~-35» e‘e'

 

g`.

4`3 ~ ptiz pmpa §_OL>CC,€Q

Noi?prion'ty €reititor‘s Name

 
 

  

 

;S:>\\)e:Y\Q/\\i ft ig\t'?_`?z.’&d

Eho incurred the debt? Check one.
Debtor1 only

n Debtor 2 only

El Debtor1 and Debtor 2 only

a At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?
No
n Yes

 

Last 4 digits of account number_

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

[:l Obligations arising out cfa separation agreement or divorce
that you did not report as priority claims

[:l Debts to pension or proit- -sharing plans, dot r similar debts
`F" Other. Specify '

___ tazte_

 

 

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

of

page _

Debtor 1

 
 

Firs Name

mAdd the Amounts for Each Type of Unsecured Claim

-R T D CJ_O Filed 05/10/18 Pa

Case number (rrluicwn)% §§Of `§Y" 03 Aq \"` \ZCT’

 

'l'otal claims
from Part 2

 

,Tot_a|.claims'
from Part1 '

6a.

6c.

' 'ed.

-'6e.

' 6h.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority -
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

. 6j. Total. Add lines 6f through 61.

6b.

6c.

6 .

G.

6e.

Gg.

6h.

6j.

s. Total the amounts of certain types of unsecured claims. This inforrnation' is for statistical reporting purposes only. 28 U. S. C. § 159.
Add the amounts for each type of unsecured clairii.

J_'Total claim

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

page _ of _

 

Case 8:18-bl<-03291-RCT DOC 10 Filed 05/10/_18 Page 22 of 59

Fill in this information to identify your case:

Debtor

Debtor 2
(Spol.lse ll nling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Cel'itl’al DlStl'lCt Of California

‘ ")
Casenumber ?'i%`\gb_ O:>Qq{' QC/T . . .
(lrknown) m Check lf this ls an
amended filing

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

information. lf more space is needed, copy the additional page. fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known). `

 

 

1. § 03 you have any executory contracts or unexpired leases?
0. Check this box and file this form with the court with your other schedules. Y_ou have nothing else to report on this fon'n.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106AlB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases. \ v

Person or company with whom you have the contract or lease l ` State what the contract or lease is for

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

 

 

 

 

 

 

City State ZlP Code
2.5
_ Name

Number Street j

City 4 State Z|P Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of_

Case 8:18-bl<-03291-RCT ; DOC 10 Filed 05/10/18 Page 23 of 59

Debtor1 mt ama M|ddle got ) AOLBS:§S(")AS ?\ M/ n case number annum %` `% B\C O?)Qq \’ `QQ;T

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

§

Name

 

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City _ State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

Li.~

 

Name

 

Number Street

 

` City State ZlP Code

el

Name

 

 

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

&_l

 

Name

 

Number Street

 

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page ___ of__

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Fill in this information to identify your case:

Debtor 1

l l 7 , A` .
First Name Middle Name

Debtor 2
(Spouse, if filing) Firsi Name Middle Name LasiName

 

United States Bankruptcy Courtforlhe: Central District of California re

' Case number : ' 0 3

(lt known)

 

El check if this is an
amended filing

 

Official Form 106H _
Schedule H: Your Codebtors . 12115

`Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people '

' are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries` 1n the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

\

B)u have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

 

 

, o
ClYes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
§zona, Califomia, |daho, Louisiana, Nevadal New lVlexico, Puerto Rico, Texas, Washington, and'Wisconsin.)

No. Go to line 3.
n Yes. Did your spouse, fenner spousel or legal equivalent live with you at the time?
No
m Yes. ln which community state or territory did you live'? ' . Fill in the name and current address of that person.

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column1 Your codebtor :’ '. " 7 »' ~ `: ` l ~ 1 l Column2: The creditor to whom you owe the debt

 

" Ch_eck all schedules that app|y:l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
Cl Schedule D, line
Name
El Schedule E/Fl line
Number street Cl Schedule G, line
ciiy stare ziP code
3.2 '
_ El Schedule D, line __
Name
El Schedule`E/Fl line____
Number Street ' l;l Schedule G, line
ciry stale ' ziP code
3.3
n Schedule Dl line __
Name
Cl Schedule E/F, line
Number Street El Schedule G, line
city slate ziP code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors ` t page 1 of_

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\l w Case number (irkrrewrr)<t:§‘ \%' EK”O 3 aci \" ec:t/

   

  
 
  

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 . -
Firs ame Middle Name Last Name
- Additional Page to List More Codebtors
. `,Column 1: Your;co_debtor t , v ` ~` ` , _ ' .' _' , _ l f ' t r Column 2: The creditor to whom you owe the debt
` z Check all_schedules that apply: h
§l
Cl Schedule D, line
Name __
U Schedule E/F, line
Number Street - a Schedule G, line _
city state ziP code
3_-l '
Cl Schedule D, line
Name
Cl Schedule ElFl line
Number street l:l Schedule G, line _
city state ziP code
al -
Cl Schedule Dl line
Name .
Cl Schedule E/F, line
Number street n Schedule G, line _
city state 'zlP code
il
Cl Schedule D, line
Name
Cl Schedule ElF, line
Number street Cl Schedule G, line _
city state ziP code
ad
L_.l Schedule D, line
Name ___
El Schedule E/F, line
Number street n Schedule G, line _
City ' State ZlP Code
el
Cl Schedule D, line
Name ____
l:l Schedule E/F, line
Number street Cl Schedule G, line _
' city state ziP code
3 '
l:l Schedule D, line
Name _
El Schedule E/F, line
Number street ' El Schedule G, line _
city state ziP code
_-._l
El schedule D, line
Name
El Schedule E/F, line
Number street l:l Schedule G, line _
City State ZlP Code

 

 

 

Official Form 106H 1 Schedule H: Your Codebtors v page _ of _

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ill in this information to identify your case:

 

Debtor 1 _

Middle Name Last Name
Debtor 2
(SpOUSB, ll fliing) First Name Middle Name Last Name

united states Bankruptcy court ferthe: Central District of California

Casenumber ?“\ ’ 'O \""l Q/

(|f known)

Check if this is: _
El An amended ming

Cl A supplement showing postpetition chapter 13
income as of the following date:

 

Official FOl'm 106l m
Schedule'l: Your income 12/15

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. |f you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this fonn. On the top of any additional pages, write your name and case number (if known). Answer every question.

lmbescribe Employment

 

 

1. Fill in your employment '
informati°n_ Debtor 1 , Debtor 2 or non-filing spouse

 

attach a separate page with
information about additional Employment status n Employed El Employed

employers. _ Not employed El Not employed

lnclude part-time, seasona|, or

|f you have more than one job, ‘ » j
self-employed work. §

Occupation

 

Occupation may include student §
or homemakerl if it applies. l
l
l

Employer’s name

 

Employer’s address

 

Number Street Number Street

 

 

 

City State ZlP Code ` City State ZlP Code

How long employed there?

m§ive Details About Monthly lncome !

Estimate monthly income as of the date you file this form. |f you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated.

v |f you or your non-filing spouse have more than one employerl combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this fonn.

For Debtoi;y For Debtor 2 or
' : 'j ' l non-filing spouse ,

 

2. List monthly gross wages, salary, and commissions (before all payroll `\

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $
%,1,__»4
3. Estimate and list monthly overtime pay. 3. +\h_ + $
4. Calculate gross income. Add line 2 + line 3. 4. ` $@ $_______

 

 

 

 

 

 

 

l

 

 

 

Official Form 106l Schedule l: Your income page 1

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Case number (irknewnt? :\% B\: ` 03 act l " \?-CY.

For Debtor 1 ifor Debtor 2 or

non-filinq spouse
Copy line4 here ............................................................................................... 9 4. $ § > $

5.. List all payroll deductions:

Debtor 1

 

Middle Name

 

 

 

01
!'“

5e. Tax, Medicare, and Sociai Security deductions

 

<n
P'

§ 5b. Mandatory contributions for retirement plans

 

01
9

l 50. Voluntary contributions for retirement plans

 

cl
P-

; 5d. Required repayments of retirement fund loans

 

l 5e. insurance

01
:"~

 

5f. Domestic support obligations

 

mut
P"P
+

59. Union dues
5h. Other deductions. Specify:

 

 

01

(D
W€HEH€BEDEH€H$$
MQHD€HG)U%$$M

.°’

 

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 59 + 5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7.

WS

B. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

 

 

 

 

 

__ Attach a statement for each property and business showing gross
j receipts, ordinary and necessary business expenses, and the total $ § 2 z $
monthly net income. 8a.
8b. interest and dividends 8b. $ 6 $
Sc. Family support payments that you, a non-filing spouse, or a dependent
regularly receive ,
include alimony, spousal supportI child support. maintenanoe, divorce $ @ $
settlement, and property settlement 80. ' @
8d. Unemp|oyment compensation 8d. $ 4 $
8e. Sociai Security 8e. $ { 7 5 $
f

8f. Other government assistance that you regularly receive

include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistanoe Program) or housing subsidies.

speeify; af. $

89. Pension or retirement income 8g. $ § : $
8h. Other monthly income. Specify: 8h. + $ § § '*' $

 

 

 

 

 

 

 

 

 

 

9. Add ali other income. Add lines 8a + 8b + 80 + Bd + Be + 8f +8g + 8h. 9. $ $
' /
10.Caicu|ate monthly income. Add line 7 + line 9. + _ $ m
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-ming spouse. 10. $-/Q_ $ ' ~,`_/

 

 

1

_\

. State ali other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
$ § j

 

 

 

 

 

Specify: 11. +
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformation, if it applies 12. 3
Combined

l
5
t
r
l
§
t
i
f
§
l
l
t

monthly income
13. Do you expect an increase or decrease within the year after you tile this form?

d No.

n Yes. Explain:

 

 

 

 

 

Official Form 106l Schedule l: Your income page 2

,/

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Debtor 1

Debtor 2

  
 

 

(SpOuS€. ifflllng) FirstName Middle Name LastName

United States Bankruptcy Court for the: Cent|‘al DiSfriCt Of CalifOrnia

Case number %;\“§` BK ' OKQQ l\" RQ_¢T

(if known) .

 

 

 

Official Form 106J
Schedule J: Your Expenses

 

Check if this is:

El An amended filing

n A supplement showing postpetition chapter 13
expenses as of the following date:

MM/DD/YYYY

12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your name and case number

(if known). Answer every question.

ii ;- Describe Your Household

" ` 1. rsthisajointcase?

` No. Go to line 2.

 

Dependent's relationship to Dependent’s

Does dependent live

 

l
§

Debtor 1 or Debtor 2 age § with you?
l

UNo

‘ Cl Yes. Does Debtor 2 live in a separate househoid?
a No _ _
n Yes. Debtor 2 must tile Ofiicia| Form 106J-2, Expenses for Separate Household of Debtor 2.
,2. Do you have dependents? d No
on not list Debtor `1 and _ El Yes., r=irr our this information for
Debtor 2. each dependent ..... _ .....................
Do not state the dependents’
names.

3 Do your expenses include ' D`_N°
' expenses of people other than
___yourse|f and your dependents? a Yes

Estimate Your Ongoing Monthly Expenses

 

n Yes
L_.l No

 

[:l ¥es
n No

 

; |:lYes
n No

 

n Yes
E] No

 

n Yes

‘ Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
ij expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicab|e`date.

include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule l: Your Income (Official Form 106l.)

Your expenses

 

_ 4. The rental or home ownership expenses for your residence. include Hrst mortgage payments and $ © »\

any rent for the ground or lot.

lf not included in line 4:

4a Rea| estate taxes

4b. Property, homeowner‘s, or renter’s insurance

.4c. Home maintenance, repair, and upkeep expenses

j 4d. Homeowner association or condominium dues

Offrcia| Form 106J Schedule J: ¥our Expenses

4a. $ A® id

4b. $ j § `
4c. $ Z/ 10

4d. $ __~ ‘_`

page 1

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Debtor1 ngr; §a§me§ X §XM§iddleN§amev@l § A&N:§;)\@(§;ji§?@/\L_ case number winning : \% '%K. 055ch l" l@C/T

.°'

Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. ' E|ectricity, heat, natural gas
Gb. Waterl sewer, garbage collection
ec. Telephone, cell phone, intemet, s`ate||ite, and cable services

6d. Other. Specify:

 

 

 

 

 

 

7. Food and housekeeping supplies
l a.. Chiidcare and children's education costs
9. Clothing, iaundry, and dry cleaning
_10. Personal care products and services
-11. Med'ic'a| and dental expenses
'12. Trarrsportation. include gas, maintenance, bus or train fare.
Do not include car payments.
:13. Ente'rtain-ment, clubs, recreation, newspapers, magazines, and books
14. Charitabie contributions and religious donations
.15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Heaith insurance
15c. Vehicie insurance
15d. Other insurance. Specify:
i‘re. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. installment or lease payments:
17a. Car payments for Vehicie 1
17b. Car payments for Vehicie 2
17c. Other. Specify:
17a. Other. Specify:
‘18. Your payments of alimony, maintenance, and support that you did not report as deducted from
' your pay on line 5, Schedule I, Your Income (Official Form 106l).
~19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your Income.
20a. Mortgages on other property
20b. Reai estate taxes
20¢:. Property, homeowners, or renter’s insurance
20a. Maintenance, repair, and upkeep expenses
_ 20e. Homeownefs_ association or condominiu.m dues _
Official Form 106J Schedule J: Your Expenses

6a.
Gb.
60.

6d.

1Sa.
15b.
15c.

15d.

16.

17a.
17b.
17c.

17d.

18.

19.

208.
20b.
20¢:.
20d.

` 20e.

 

Your expenses

 

 

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Debtor 1

   
 

\[_ Case number (irkn»wn)%.‘ \% BK O?>aql ` \2(:¥'

 

First Name Last Name

`21. Other. Specify. 21. +$

\

s

 

i22i Calculate your monthly expenses.

. ,/ 00
22a. Add lines 4 through 21. 22a $ . /'

22b. Copy line 22 (monthly expenses for Debtor 2)l if any, from Official Form 106J-2 22b. $

22c. Add line 22a and 22b. The result is your monthly expenses. 220_ $

 

 

 

‘23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $

 

23b. Copy your monthly expenses from line 22c above. 23b. _ $ g ¢ 2 l ‘Q ; §
230. Subtract your monthly expenses from your monthly income. ` __ g l § 2 OD
The result is your monthly net income. 23c. $

524. Do you expect an increase or decrease in your expenses within the year after y_ou file this form?

 

 

 

 

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modilication to the terms of your mortgage?

j »,XNQ.

‘ leS- Explain here:
l

 

 

 

 

Official Form 106l Schedule J: Your Expenses page 3

CaseS:lS-bl<-03291-RCT DOC 10 Filed 05/10/18 Page 31 of 59

Fill in this information to identify your case:

Debtor 1

~t me ' M dl Name

Debtor 2
(Spouse, if fili|’lg) Hrst Name Middle Name

Last e
United States Bankruptcy Court for the: /” /(éd (al DlS'[l'lCt Of /0 in C[a/
"\ _ ]. § __
Casenumber A'~'ls`/° i.)L"O:>>;(gQ| ° L{E §

(if known)

 

l;l Check if this is an

 

 

amended filing

Official Form 106Dec .
Declaration About an individual Debtor’s Schedules izns

 

 

if two married people are filing togetherl both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

l

l

l

l

l

' §§ N

{ o
g n Yes. Name of person l ' .Attach Banknrptcy Petition Preparer's Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and orrect.

  

x

Signature of Debtor 2

 

 

Date
MMl DD l YYYY

 

Official Form 106Dec Declaration About an individual Debtor’s Schedules

Case 8:18-bl<-03291-RCT DOC 10 Filed 05/10/18 Page 32 of 59

Fill in this information to identify your case:

Debtor 1

Debtor 2
(SpOUSE, iff|lil’ig) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Dlel`iCt Of

Case number &‘. &B a P\\Z_:` C)z)\aq l °" E.QI

(il known)

 

 

n Check if this is an amended filing

Official Form 122A-1Supp

 

Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 12115

 

Fiie this supplement together with Chapter 7 Statement of Your Current Monthly income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. if two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

identify the Kind of Debts You Have

 

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8) as “incurred by an individual primarily for a
personal, familyI or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
individuals Filing for Bankruptcy (Official Form 101 ).

d No. Go to Form 122A-1; on the top of page 1 of that forrn, check box 1, There is no presumption of abuse, and sign Part 3. Then
submit this supplement with the signed Form 122A-1.

Ci Yes. en to Parr 2.

mbetermine Whether Military Service Provisions Apply to You

 

2. Are you a disabled veteran (as delined in 38 U.S.C. § 3741(1))?

d No. Go to line 3.

cl Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

n No. Go to line 3.

l;l Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
m No. Complete Form 122A-1. Do not submit this supplement
Ci Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101 (d)(1); 32 U.S.C. § 901 (1).

a No. Complete Form 122A-1. Do not submit this supplement
m Yes. Check any one of the following categories that applies:

a l was called to active duty after September 11, 2001, for at least if you Checked One Of the Cafegolie$ to the lent 90 to
` 90 days and remain on active duty. Form 122A-1. On the top of page 1 of Form 122A-1,

check box 3, The Means Test does not apply now, and
sign Part 3. Then submit this supplement with the signed
Form 122A-1. You are not required to fill out the rest of
Official Form 122A-1 during the exclusion period. The

n l was called to active duty after September11, 2001, for at least
90 days and was released from active duty on , ,
which is fewer than 540 days before l file this bankruptcy case.

a l am performing a homeland defense activity for at least 90 days. exclusion Pe"i°d means the time you are °" actin duty
' or are performing a homeland defense activity, and for
n | performed a homeland defense activity for at least 90 days, 540 days afterward 11 U_S_C_ § 707(b)(2)(D)(ii)_
ending on , which is fewer than 540 days

lf your exclusion period ends before your case is closed,

before l file this bankruptcy case.
you may have to file an amended form later.

 

 

 

Ofncial Form 122A-1Supp Statement of Exemption from Presumption of Abuse Under § 707(b)(2)

Case 8218-bk-03291-RCT D00 10 Filed 05/10/18 Page 33 Of 59

Fm in this information to identify your Case: Check one box only as directed in this form and in

 

 

 

. ____ ‘_ . - Form122A-1Supp:
Debtor1 `\, O\’\ n d z' \
First Name Middle Name Last Name
n 1. There is no presumption of abuse.
Debtor2 ' '
(SP°“S@' if“'i“g) F"S'Na'“€ ' ' Middle Name LHS'NHI“S n 2. The calculation to determine ita presumption of
1 abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: _____District Of__ Means Test calculation (Official Fonn 122A_2)
Case number §§ l g E>( é" 03 a/Q[ 8 C)T cl 3. The Means Test does not apply now because of
(lfKnOwn) qualified military service but it could apply later.

 

 

 

El check ifthis is an amended ming

Official Form 122A-1
chapter 7 Statement of Your Current Monthly lncome 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for being accurate. |f more
space is needed, attach a separate sheet to this fonn. lnclude the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). |f you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exeinption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

m Calculate Your current llilonthly lncome

1. What is your marital and filing status? Check one only.

Not married. Fill out Column A, lines 2-11.
cl Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

_ n Married and your spouse is NOT filing with you. You and your spouse are:
a Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

n Living separately or are legally separated. Fill out Column A, lines 2-11; do not till out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U. S. C. § 707(b)(7)(B).

' Fill' rn the average monthly income that you received from all sources, derived during the 6 full months before your f' le this
bankruptcy case. 11 U. S_. C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be |Vlarch 1 through
August 31. lt the amount of your monthly income varied during the 6 months, add the' income for all 6 months and divide the total by 6.
Fill' rn the resu|t. Do not include any income amount more than once. For examplel if both spouses own the same rental property, put the
income from that property rn one column only. lf you have nothing to report for any line, write $0` rn the space.

Column A § ,-Column B
Debtor 1 Debtor 2 or~ 1
` `- non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions 0
(before all payroll deductions). $_-_-- $

3. Alimony and maintenance payments. Do not include payments from a spouse it
Column B` rs tilled' rn. $ Q $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. lnclude regular contributions
from an unmarried partner, members of your householdl your dependents, parents,
and roommates. lnclude regular contributions from a spouse only if Column B is not $ 0

filled in. Do not include payments you listed on line 3. $
5. Net income from operating a business, profession, -1Debt°.r 1 ,» bébt°rz'

or farm ' : '

Gross receipts (before all deductions) $_O_ $__

Ordinary and necessary operating expenses - $_ 0 - $_

Net monthly' rncome from a business, profession, or farm $ § 2 $ ::r‘;_) $_ O $
6. Net' income from rental and other real property 1Debtor1. -' Debtor 2

Gross receipts (before all deductions) $__ $_

Ordinary and necessary operating expenses - $ § 2 -_$

Net monthly income from rental or other real property $ C> $_ ::r';,) :_ © $
7. lnterest, dividends, and royalties $

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 1

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Debtor1 ; lt >\(\§ § § §§ § \¢UAQ \; §§ QAZ §'O./xL Casenumber(irimown)%.‘\(g* B\L“ ngq l n fQQ/T

Frrst Name Middle Name Last Name

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

8. Unemp|oyment compensation $ $

 

Do not enter the amount if you contend that the amount received was a benefit
under the Sociai Security Act. insteadl list it here: ...............................

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For you $
For your spouse $
9. Pension or retirement income. Do not include any amount received that was a w
benefit under the Sociai Security Act. $ $
10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Sociai Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. lf necessary, list other sources on a separate page and put the total below.
§§ $
$ ,@' s
Total amounts from separate pages, if any, + $ g + $
11. Calculate your total current monthly income. Add lines 2 through 10 for each + _
column. Then add the total for Column A to the total for Column B. $ $ " $

Total current
monthly lncome

- Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11. Copy line 11 here')

l\i|ultiply by 12 (the number of months in a year). X 12

12b. The result is your annual income for this part of the torm. 12b. | $ g z l

13. Calculate the median family income that applies to you. Fo|low these steps:

 

 

 

 

 

 

 

 

. . . . / 9 \
Fill rn the state in which you live. ¥ ` Oc.\ da
Fill in the number of people in your household. l
F'll' th d' f `l' f' tt d' fh hld 13 $/Yé¢>?‘?
r rn eme ran amiyincome oryoursaean sizeo ouse o . . ¢

 

 

 

 

To find a list of applicable median income amountsl go on|ine using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

14% Line 12b is less than or equal to line 13. On the top of page 1l check box 1, There is no presumption of abuse.
' Go to Part 3.

14b. Cl Line 12b is more than line 13. On the top of page 1 , check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

B
ms'g“ e'°"a n

By sign g er r under penalty of perjury that the information on this statement and in any attachments is true and correct.

X

atu of Debtor1 Signature of Debtor 2

Date ";` l "/ l 2,0 [ `7 Date
MM/DD /YYYY MM/DD /,YYYY

lf you checked line 14a, do NOT Hll out or tile Form 122A-2.
lf you checked line 14b, fill out Form 122A-2 and tile it with this fonn.

 

    

 

 

 

 

thcial Form 122A-1 Chapter 7 Statement of Your Current Monthly lncome page 2

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Check the appropriate box as directed in
lines 40 or 422

Fill in this information to identify your case:

According to the calculations required by
this Statement:

Debtor 1
Middle Name

Debtor 2

 

[___l 1. There is no presumption of abuse.

(SpOuSe, i‘ff'lllng) First Name Middle Name Last Name

m 2. There is a presumption of abuse.

United States Bankruptcy Court for the: Centra| District of California

§\§ \5\;- cream - r:LT

llfknown) m Check if this is an amended filing

 

 

 

 

oiliciel Form 122A-2
Chapter 7 Means Test Calculation 4116

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly income (Official Form 122A-1).

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for being accurate. lf more space
is needed, attach a separate sheet to this form. lnclude the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

Determine Your Adjusted lncome

1. Copy your total current monthly income. lCopy line 11 from Official Form 122A-1 here9 ........... $ O

 

2. § you till out Column B in Part 1 of Form 122A-1?
No. Fill in $0 for the total on line 3.
m Yes. ls your spouse filing with you?

L__] Ne. eo te line 3.
l:] Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On line 11, Column B of Form 122A-1l was any amount of the' income you reported for your spouse NOT
regularly used for the household expenses of you or your dependents?

[:l No. Fill in 0 for the total on line 3.
l:l Yes. Fill in the information below:

State each purpose for which the' income was used n v Fill in the amount you

 

 

 

 

 

For example, the' income is used to pay your spouse' s tax debt or to support 1 are Subtractin f"°m
people other than you or your dependents ' your SP°uSe S income
$
$
+ $
Tota|. ............................. $ t >
Copy total here ............... 9 _ $
4. Adjust your current monthly income. Subtract the total on line 3 from line 1. $_Q_

 

 

 

 

 

 

Official Form 122A~2 Chapter 7 Means Test Calculation l page 1

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Debtor1 \\ 0\(\{\ 6 3 \) C\LQ/<%CA/Z\)\@>i</

Fir'st Name Middle Name Last Name

-Calculate Your Deductions from Your lncome

Case number (irknnwn) §§ :\ %' BL` Ozaq ( ` \ZQ:\V

 

this form. This information may also be available at the bankruptcy clerk’s office.

lf your expenses differ from month to month, enter the average expense.

5. The number of people used in determining your deductions from income

the number of people in your household.

People who are under 65 years of age

7e. Out-of-pocket health care allowance per person $53 O,_.
$

7b. Number of people who are under 65 f
X _

o 0
7e. subroral. lvlulliply line 7a by line 7b. s 5 _ copy nere-)

People who are 65 years of age or older

7d. Out-of-pocket health care allowance per person 3 t {LFOO

7e. Number of people who are 65 or older X §§

7f. Subtotal. Multiply line 7d by line 7e.

7g. Total. Add lines 7c and 7f

 

 

Fill in the number of people who could be claimed as exemptions on your federal income tax retum,
plus the number of any additional dependents whom you support. This number may be different from

$5

The internal Revenue Service (lRS) issues National and Local Standards for certain expense amounts Use these amounts to
answer the questions in lines 6-15. To find the lRS standards, go on|ine using the link speclf' ed ln the separate instructions for

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. ln later parts of the form, you will use some of your~
actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in` line 3
and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

Whenever this part of the form refers to you, it meansboth you and your spouse if Column B of Form 122A-1 is filled in.

 

 

 

 

QIQ_O

$ § Copyhere') +$ S;?

 

 

 

1521

 

 

National Standards . You must use the lRS National Standards_to answer the questions in lines 6-7. l ' `
6. Food, clothing, and other items: Using the number of people you entered' ln line 5 and the lRS National Standards, fill ( ZL_( 7 C,._
in the dollar amount for food, clothing, and other items $

7. Out-of-pocket health care ailowance: Using the number of people you entered in line 5 and the lRS National Standards,
fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories-people who are
under 65 and people who are 65 or older_because older people have a`higher lRS allowance for health care costs. if your
actual expenses are higher than this lRS amount, you may deduct the additional amount on line 22. b

 

Copytota|here9 $E)§t 3 ,'_

 

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation

page 2

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<Q\L § tx b C ©Bal réc:l~

Debtor 1

 

Middle Name Last Name

 

 

Local Standards You must use the lRS Local Standards to answer the questions in lines 8-15.

Based on information from the lRS, the U.S. Trustee Program has divided thele Local Standard for housing for
bankruptcy purposes into two parts:

l Housing and utilities - insurance and operating expenses

l Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

To find the chart, go on|ine using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk’s oflioe.

8, Housing and utilities - insurance and operating expenses: Using the number of people you entered in line 5, till in the _ . . -~. /
dollar amount listed for your county for insurance and operating expenses. .. `,' ` ,___

 

9. Housing and utilities - Mortgage or rent expenses:

sa. Using the number of people you entered in line 5, till in the dollar amount listed 5 ._9
for your county for mortgage or rent expenses ....................................................................... $ ,

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you tile for
bankruptcy. Then divide by 60.

Name of the creditor . Average monthly

 

 

 

 

 

 

 

 

payment
$
$
+ $
l h| $ copy Repeat this
Tota avera e mont y payment -$ amount on
g here') line 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage or $ c°py $
' rent expense). if this amount is less than $O, enter $0. he'e')

 

 

 

 

10. lf you claim that the U.S. Trustee Program’s division of the lRS Local Standard for housing is incorrect and affects $ § § §
the calculation of your monthly expenses, fill in any additional amount you claim.

Explain
why:

 

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

O. Go to line 14.

1. Go to line 12.
I:l 2 or more. Go to line 12.

12. Vehicie operation expense: Using the lRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 3

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` ®/\/L Case number ofl<ni»wnl? ig Bv/ O?)aqi 2d

Debtor 1

 

 

 

13. Vehicie ownership or lease expense: Using the lRS Local Standards, calculate the net ownership or lease expense
for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
in addition, you may not claim the expense for more than two vehicles.

 

~{ \ilehicle 1 Describe Vehlcle 1:

 

13a. Ownership or leasing costs using lRS Local Standard. ................................................... $

13b. Average monthly payment for ali debts secured by Vehicie 1.
Do not include costs for leased vehicles,
To calculate the average monthly payment here and on line 13e, add all

amounts that are contractually due to each secured creditor in the 60 months
after youl f led for bankruptcy Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of each creditor for Vehicie 1 i .i v l Average monthly
t y payment '
$
+ $
$ copy Repeat this
Total avera e monthl payment - $ amount on
g y __ he'e') ___ line 33b.
Copy net
13a. Net Vehicie 1 ownership or lease expense ~ vehicle 1
Subtract line 13b from line 13a. if this amount ls less than $0, enter $0. $ expense
here ..... ') $_.__
illehicle'Z Describe Vehicie 2:
13d. Ownership or leasing costs using lRS Local Standard. ................................................. $
13e. Average monthly payment for all debts secured by Vehicie 2.
Do not include costs for leased vehicles,
_ Name of each creditorifor Vehicie2 ` . 7 ’ ` Average monthly
` ‘ payment :
$
+ $
copy Repeat this
Total avera e monthl pa ment $ - amount on
g y y he'e9 $ line 33c.
. . Copy net
13f. 7 Net Vehlcle 2 ownership or lease expense veh|cle 2
Subtract line 13e from 13d. if this amount is less than $0, enter $O. $ expense
here ') $__
L4. Fiublic transportation expense: if you claimed 0 vehicles in line 11, using the lRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. $ _7

15. Additional public transportation expense: lf you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may till in what you believe is the appropriate expense, but you may not claim
more than the lRS Local Standard for Public Transportation. $

 

i Official Form 122A-2 i Chapter 7 Means Test Calculation page 4

 

 

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?&\L Case number (irl<nown)?<;i%‘ 313 O?)&q i ‘ Q-C/iv

 
  

Debtor 1

Other Necessary Expenses in addition to the expense deductions listed abovel you are allowed your monthly expenses for
' the following lRS categories l

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
employment taxes, Sociai Security taxes, and Medicare taxes. You may include the monthly amount withheld from your $
pay for these taxes, However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

17. involuntary deductions: The total monthly payroll deductions that yourjob requires, such as retirement contributions,

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a coult or administrative
agency, such as spousal or child support payments.

union dues, and uniform costs. , g
Do not include amounts that are not required by yourjob, such as voluntary 401 (k) contributions or payroll savings. $
18. Life insurance: The total monthly premiums that you pay for your own term life insurance. if two married people are filing
together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse’s life insurancel or for any forln of life insurance other than term. $

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35. $

20. Education: The total monthly amount that you pay for education that is either required:

l as a condition for yourjob, or 6

l for your physically or mentally challenged dependent child if no public education is available for similar services. $_-_

21. Chiidcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.

Do not include payments for any elementary or secondary school education. $

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
health savings account. include only the amount that is more than the total entered in line 7. § §
Payments for health insurance or health savings accounts should be listed only in line 25. $

23. Optiona| telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone 6
service, to the extent necessary for your health and welfare or that of your dependents or for the production of incomel if it + $
is not reimbursed by your employer,

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122A-1l or any amount you previously deducted.

 

24. Add all of the expenses allowed under the lRS expense allowances. $
Add lines 6 through 23.

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 5

 

 

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\/®[, Case number (ifknown)$<:\%`(?_>\C-i OBU i ` R(i/_\_i

  

Debtor 1

    

Middle Name Last Name

   

Additional Expense Deductions These are additional deductions allowed by the Means Test.
Note: Do not include any expense allowances listed in lines 6-24.

25. Heaith insurance, disability insurancel and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
dependents.

Heaith insurance $ ’@"
Disability insurance $ 61
Heaith savings account + $ _@_
Total $£"__ copy total here-) ..................................... $__9:

Do you actually spend this total amount?

ij No. How much do you actually spend? $i

 

 

 

 

i:ii Yes
26. Continuing contributions to the care of household or family members_ The actual monthly expenses that you will ..S`
continue to pay for the reasonable and necessary care and support of an elderly, chronically illl or disabled member of $

your household or member of your immediate family who is unable to pay for such expenses. These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety $,@,
of you and your family under the Family \holence Prevention and Services Act or other federal laws that apply. __

By lawl the court must keep the nature of these expenses conlidential.

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
if you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then Hll in the excess amount of home energy costs. $`@"

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42*
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
elementary or secondary school. $

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or afterthe date of adjustment

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are $ 3
higher than the combined food and clothing allowances in the lRS National Standards. That amount cannot be more than

5% of the food and clothing allowances in the lRS National Standards.

To find a chart showing the maximum additional allowancel go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk’s office.

You must show that the additional amount claimed is reasonable and necessary.

31 . Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial + $/®r
instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

 

32. Add all of the additional expense deductions. $S;
Add lines 25 through 31.

 

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 6

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\i -®`(&/ Ca~°>,e number tirknown)&'iigi Bici O~;]>aq l i Q/C:i;

   
  

Debtor 1

      
 

Middle Name Last Name

 

 

Deductions for Debt Payment

33. For debts that are secured by an interest in property that you ownl including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33c.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you tile for bankruptcy. Then divide by 60.

Average monthly

 

 

 

 

 

 

 

 

 

 

 

 

Mortgages on your home: payment
33a. Copy line 9b here ') $
Loans on your first two vehicles:
san copy line 13b here. . -) $
33c. _ Copy line 13e here. ') $
33d. List other secured debts:
Name of each creditor for other identify property that Does payment
secured debt secures the debt include taxes
or insurance?
l:] No $
l:i Yes
i:i No $
i;i ¥es
l:l No + $
i:i Yes ‘
l
33e. Total average monthly payment. Add lines 33a through 33d. .................................................... $ ::;i:;ita
34.Are any debts that you listed in line 33 secured by your primary residencel a vehic|e,
or other property necessary for your support or the support of your dependents?
No. Go to line 35.
i:i Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33l to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.
Name of the creditor i identify property that Total cure i M`onthly cure
secures the debt amount amount
$ + 60 = $
$ + 60 = $
$ + 60 = + $

 

 

Co total
Total $___ he,‘;”-> g

35. Do you owe any priority claims such as a priority tax, child support, or alimony-
hat are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
~ o. Go to line 36.

Yes. Fill in the total amount of ali of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.

 

 

 

Total amount of all past-due priority claims ................................................................. $ é 60 _

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 7

 

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05 i i ii i . Case number (irknowni% ' \%' 05 Rq i i `QQ:\_'

 
 
 

Debtor 1 5 0

First Name

   

 

Middle Name

 

 

 

36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
1 instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s oftice.

No. Go to line 37.
i___i Yes. Fill in the following information.

Projected monthly plan payment if you were filing under Chapter 13 $

Current multiplier for your district as stated on the list issued by the

Administrative Office of the United States Courts (for districts in Alabama and

Noith Carolina) or by the Executive Office for United States Trustees (for all

other districts). X

To find a list of district multipliers that includes your district, go online using the
link specified in the separate instructions for this form. This list may also be
available at the bankruptcy clerk’s office.

 

C t t l
Average monthly administrative expense if you were filing under Chapter 13 $ h:;y_)o a

37. Add all of the deductions for debt payment. $ §§ §
Add lines 33e through 36. .........

 

 

 

 

 

 

Total Deductions from income

38. Add all of the allowed deductions.

Copy line 24, All of the expenses allowed under lRS $
expense allowances

 

Copy line 32l All of the additional expense deductions .......... $

Copy line 37, All of the deductions for debt payment ............. + $ .
Total deductions $ g § Copy total here ............................... -) $ 2

Determine Whether There ls a Presumption of Abuse

 

 

 

 

39a. Copy line 4. adjusted cument monthly income ..... $

39. Calculate monthly disposable income for 60 months >,.

 

390. Monthly disposable income. 11 U.S.C. § 707(b)(2).
Subtract line 39b from line 39a. v here9

39b. Copy line 38, Total deductions .......... - $ §2 §
cch

 

 

 

For the next 60 months (5 years) X 60

39d. Tocai. Multiply line 390 by 60. s §§ § :;’;y_) §§

 

 

 

 

 

 

 

 

 

40. Find out whether there is a presumption of abuse. Check the box that applies:

The line 39d is less than $7,700*. On the top of page 1 of this fomi, check box 1, There is no presumption of abuse. Go
'io Part 5.

I___I The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
may fill out Part 4 if you claim special circumstances Then go to Part 5.

i:i The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.

* Subject to adjustment `on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment

Official Form 122A-2 Chapter 7 Means Test Calculation page 8

 

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Case number (ill<nownl §"li S" g Y- 0 ?><;zqi e iad

Debtor 1

 

First Name

 

41. 41a. Fill in the amount of your total nonpriority unsecured debt. lf you fllled out A
Summary of Your Assets and Liabilities and Certain Statistical lnforrnation Schedules

 

 

(Official Form 1068um), you may refer to line 3b on that form ............................................................ $
x .25
41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(l). $ Copy $
Multiply line 41a by 0.25. ____ here')

 

 

 

 

 

 

 

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.

Check the box that applies:

i:i Line 39d is less than line 41 b. On the top of page 1 of this fonn, check box 1, There is no presumption of abuse.
Go to Part 5.

Ei Line 39d is equal to or more than line 41 b. On the top of page 1 of this fonn, check box 2, There is a presumption
of abuse. You may fill out Part 4 if you claim special circumstances Then go to Part 5.

m€ive Details About Special Circumstances

 

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable altemative? 11 U.S.C. § 707(b)(2)(B).

0. Go to Part5.

ij Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income
adjustments necessary and reasonable. You must also give your case trustee documentation of your actual

expenses or income adjustments.

. . . . . Average monthly expense
Give a detailed explanation of the special circumstances _ or income adjustment

$

 

 

 

 

l

 

X

Nturmh Debtor 1 i Signature of Debtor 2
Date g)[ L/[ ZO/~? Date
MMl D /YYYY MM/DD /YYYY

 

 

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 9

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Debtor 1

Debtor 2

ill in this information to identify your case:

 
 
 
   

 

(Spousel lf ming) First Name

United States Bankruptcy Court for the: Centl'al DlS'[l'lCt Of California

»O_ -lZ

\

Case number '
(lf known)

Middle Name

Last Name

   

 

Official Form 107

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El check if this is an
amended filing

Statement of Financial Affairs for lndividuals Filing for Bankruptcy 4115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

imGive Details About Your Marital Status and Where You Lived Before

 

El Married
'Not married

l
z
g
l
z
l
1
z
l

bebtor 1:`

1. What is your current marital status?

 

 

 

2. Du 'ng the last 3 years, have you lived anywhere other than where you live now?
;%No

a Yes. List all of the places you_ lived in the last 3 years. Do not include where you live now.

Dates Debtor1 . Debtor 2:

 

 

 

Dates bebtor 2 n

 

 

 

 

City

 

0

State ZlP Code

 

 

 

 

City

n Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

State

ZlP Code

Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property ’
states and territories include Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

lived ,there__ ' lived there §

l

m Same as Debtor1 cl Same as Debtor1 ?

l

From From f

Number Street Number Street l

_ TO __' TO j

l

l

City State ZlP Code City State ZlP Code i

i

a Same as Debtor1 n Same as Debtor 1 !

From ' From l

Number Street ` Number Street l
To _ To

 

Explain the Sources of Your lncome

 

Ofticial Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

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Debtor 1 ___
Last Name

  

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
!f vnu are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
`Lf \jo
Aves_ Fiii in the detaiis.

 

 

1 l ' ' j
[Debtor 1 ; LDebtor 2 l
' Sources of income d Gross income Sources of income Gross income
_ Check all that apply. _ (before deductions and Check all that apply. (before deductions and

_ exclusions) ' ' , exclusions)
l
Fr°m January 1 of current year until n Wages, commissions, n Wages. commissions,
' bonuses, tips $ bonuses, tips $

the date you filed for bankruptcy:*

n Operating a business n Operating a business

For last calendar year' w Wages- °°mmissi°"$' m Q§H Wages. wmmissions,
. 20 ‘ 7 bonuses, tips $ bonusesl tips _ $
(January1 to December 31l ‘ ) El operating a business El Operating a business

For the calendar year before that: Hwages, commissions 3 5 000 13 Wages. commissions

bonuses, tips bonusesl tips
(January 1 to December 31» _3.©_|®) n Operatinga business $ a Operating a business

 

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Sociai Secun'ty,
unemploymentl and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are ming a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.
` o
El Yes. Fiii in the details

 

` .
Debtor 1

 

 
 
 

 

 

 

 

H Debtor2 \
Sources of income Gross i ome f om Sources of income Gross income from
Describe below. _ each °urce / . _ , Describe be . , each source
(b re deductions and ' (before deductions and
clusions) v exclusions)
From January1 of current year until __~ ’ ~- $_____ 7___ $
the date you filed for bankruptcy: '_ _ $
, _
_ _ _____ _______ __________ _`_:___:‘ __________ $ ___ ,____ __ __ __ ___________ _ _ _
For last calendar year: '\ _ _ - - - $ 1 $
(January1 to December31/,‘i¢WY\__ ,»__ -___1_ $_,~__ - $
\ $ 1 $

_.__._ _,__ _____________ __ _______ _____/__ ____ ___ _____________ ____ _______ _, ,_ ___ ___________ ____ _ ___ _____________ __ ___ __ _____ _____________ _ ____________

For the calendar year bpto\e that: ,

(January1 to Decemb/er 31, _J _ _ _h 7 _' $ v
. j \ $

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

Case 8:18-bk-03291-RCT DOC 10 Filed 05/10/18 Page 46 of 59

 
     

Debtor 1

     

Flrst Name Middle Name Last Name

 

List Certain Payments You Made Before You Filed for Bankruptcy

s. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
“incurred by an individual primarily for a personal, familyl or household purpose."
Wg the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

o._ Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

cl Yes. Debtor1 or_Debtor 2 or both have primarily consumer debts.
j , During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Cl No_ Go to line 7.

Cl Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligationsl such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of i Total amount paid Amount you still owe
payment

 

Creditors Name

 

i
l Number Street

 

 

City State ZlP Code

 

Creditor‘s Name

 

Number Street

 

 

i ciiy stare ziP code

 

Creditor‘s Name

 

Number Street

 

 

City State ZlP Code

 

No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as

Was this payment for...

n Mortgage

m Car

n Credit card

a Loan repayment

m Suppliers or vendors
cl Other

m Mortgage

n Car

n Credit card

cl Loan repayment

n Suppliers or vendors
n Other

n Mortgage

m Car

l] credit card

n Loan repayment

a Suppliers or vendors
n Other

\<_/ case number tri,wwn?: \% BK/G% D\q\ ' m

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

page 3

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Debtor 1

M/ Case_number(rmam)?:\% ' Ba©?)&q x ' QQ/-\/

 

7_ Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partnei", .
corporations of which you are an ofticer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C;_ § 101. lnclude payments for domestic support obligations,

`bmod a"" qlimony.

 

_Dates of .. ' Total amount Amount you still Reason for this payment

 

 

 

 

 

 

 

 

 

payment i _ raid ow_e y .
. ` l §
, _ _ -~ , i
._. ._-- ~~~~ $._.- .
' v insiders Name' ' ` ` "’ §§
\: l/\ ' v 4 4b l '_ .
' Number street J d ' l ' ”`_‘
_ __ J~.»'-'_-'_--l_`_._¢___'. -¢ "
CiU State ZlP Code
$ $
|nslder`s Name
Number Street
_city stats ziP code

 

 

 

8. Within 1 year before you filed for bankruptcyl did you make any payments or transfer any property on account of a debt that benefited
§ an insider?
’ include payments on debts guaranteed or cosigned by an insider.

dsi

 

 

 

 

 

 

 

 

 

 

 

 

 

Cl Yes. List all payments that benehted an insider.
.Dates of ' Total amount _Amount you still Reason for this payment
Payment _ - , pa'd t y frye include creditor's name
j lnsider's Name $ $
Number Street )
\l
City State ZlP Code
l
$ $ i
insiders Name
Number Street
l
l
§
l
l__,_______§jtv___ _ ` ,__ Sfafe ZlP C_Q!€__ i____________ ____________ ____ _ ___________ _ _ _

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

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Q)t§ ‘i<tit__________,tzii<~'st;#os_;t€it eci-

  

Debtor 1

Lest Name

 

Part 4: ldentify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actionsl support or custody modifications,
_end contract disputes

t

t

i

i »._ '

§ _ , _
§ l ,s. Fill in the details.
i

l

2

i

l

Nature of the case Court or agency Status of the case ;

 

_Ca___mM_--'Q\§ hioo:"§$§»NE- ' 5’ 5559<~§~ ‘5\55( C,iic_oi'-§'

Court Name Pendmg

 

\ § §§ RTQA/J§ok)& MO §::p:ili

 

 

 

 

 

 

 

§

l

l __?>_%.,§ O\ Number Street §

., :§' i

Casenumber 'S'-“"OOZ Z;S§`C[ § flaw 33 7$'_6 §
city state ziP code §

_____________._,__.____ _. __ _ _______ __ __________ ___ ___ ____ . §
.§ Case title Court Name n Pending §
a On appeal §

Number Street n Conc|uded i

i

Case number §
city state ziP code j

 

 

 

10. Within 1 year before youi filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied? §
Check all that apply and f ll iri the details below. i

El No. Goto iine11.
Yes. Fill in the information below.

` Describe the property § § Date 'Value of the property

‘_§j§ §§_' » Mrc,t_t»_\_Q/z sue Q_O'W‘ _ § ~

`: 95 \`Yf`iU‘tY\ _§:\<>'\'051\' must _ J§;t §§ `
Creditor‘s Name _ '

§ 5 _~ ll _ v §"§ §

Number Street Explain what happened , §_ § :" \=

D\ Property Was repossessed.
n Property Was foreclosed.

C\ g g ~'q,( '3'5':“ 32 n Property Was garnished§

city state ziP code Cl Property was attached, seizedl or levied.

 

 

 

 

 

 

 

Describe the property 4 Date Value of the properq

(Phow?_ §QXVP`C,Q_ h $C§§Q;§

_ ,

C`)

§ _ Number Street §
l Explain what happened 4

 

l[@i'{`eov\

Cremtors Name

 

 

 

 

l;l Property was repossessed. §

i _ ~ a Property was foreclosed
§ ab vi 53 n Property was gamished.

City State ZlP Code

 

 

n Property was attached, seized, or levied

 

._ _ ____ __ __________ .

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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(B\C/ case number titk,.aw,.§€'° § %' BK OZAC§ § a RU

  

Debtor 1

   

Flrst Name Middle Name Last Name

  

§ 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

§ accounts or refuse to make a payment because you owed a debt?

§ N° :
§ ‘ El Yes. Fiii in the detaiis. g
l

 

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount §
was taken ;
. Creditors Name § §
\
t` l §
l $
j Number Street
§ t

1 t z
§ § l
§ §
§ City State ZlP Code Last 4 digits of account number: XXXX-

j 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of §
' creditors, a court-appointed receiverl a custodian, or another official?

§
§ n No
§ m Yes

m Llst Certaln Gifts and Contributlons
(; i

13.Wi in 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

 

0
El Yes. Fiii in the details for each gift

Gifts with a total value of more than $600 Describe the gifts Dates you gave ` Value

 

 

 

 

 

 

 

 

 

 

l per person ' the gifts
$ §
Person to Whom You Gave the Gift »
l
§
$ z
§
§
Number Street §
|
§ =.
; City State ZlP Code §
§ ;
§ Person's relationship to you |‘
§ Gifts with a total value of more than $600 Describe the gifts Dates you gave Value _
per person the gifts _ i
§ ’.
§ $. .
~`; Person to Whom You Gave the G|tt
§ .
g §
l $ §

 

Number Street

 

city state ziP code

 

 

§ Person's relationship to you

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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First Name

  

 

Debtor1 \% ' n . Case number (ilknawn)%: \X ‘ %K: GgD \ \ m

No
Cl Yes. Fill in the details for each gift or contribution

Gifts or contributions to charities Describe what you contributed
that total more than $600 `

 

 

Charity‘s Name

 

 

Number Street

 

City State ZlP Code

 

 

 

‘ Part 6: List Certain Losses

"'- wghin 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

` Date you Value

contributed

§ .
l 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, tire, other

‘ disaster, or gambling?

No »
Cl Yes. Fill in the details

Describe the property you lost and . Describe any ins_urance coverage for the loss
how the loss occurred

claims on line 33 of Schedule A/B: Property,

t include the amount that insurance has paid. List pending insurance ;

 

 

 

l
\` ,._,_. _-__.._..,._.____.___ .. __ - .
List Certain Payments or Transfers

you consulted about seeking bankruptcy or preparing a bankruptcy petition?

o
¥es. Fill in the details.

Description and value of any property transferred

 

Person Who Was Paid

 

 

Number Street

 

 

City State Z|P Code

 

Email or website address

 

 

 

Person Who Made the Payment, if Not You

 

Date of your Value of property

loss lost
$

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone

lnclu e any attomeys, bankruptcy_petition preparers, or credit counseling agencies for services required in your bankruptcy.

Date payment or Amount of payment
transfer was
made

 

Official Form 107 Statement of Financial Affairs-for individuals Filing for Bankruptcy

page 7

 

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c)\n h (‘ \AL)AQ%% @)L ? lt< %‘c 05 soil €.Cr

Fl rst Name Middle Name Last Name

 

Description and value of any property transferred . _ Date payment or Amount of
transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

city state '_ ziP code

 

Email or website address

 

 

 

Person Who Made the Payment, if Not You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Ylo
Yes. Fill in the detai|s.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
~ transfer was
made
Person Who Was Paid
Number Street $
$
City . State ZlP Code

 

 

 

 

 

§ 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or othenlvise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
:'_Dnot include gifts and transfers that you have already listed on this statement
l _`NO .
El Yes. Fill in the details

Description and value of property Describe any property or payments received Date transfer

l
l
l
' transferred or debts paid in exchange was made

 

 

l
g Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

 

Person's relationship to you

 

 

Person Who Received Transfer

 

l Number Street

 

 

 

 

 

City State ZlP Code

 

\
l
‘ Person’s relationship to you

Official Form 107 ' Statement of Financial Affairs for individuals Filing for Bankruptcy . page 8

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§ dl/L s lt ala m acli iad

Debtor 1

 

 

  
 
 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trustor similar device of which you
are a beneficiary? (T hese are often called asset-protection devices.)

No
Cl Yes Fill in the details '

was made

 

Name of trust

 

 

 

 

l
i
l
l
l
Description and value of the property transferred Date transfer j

 

Llst Certain Flnanc|al Accounts, Instruments, Safe Deposlt,Boxes, and Storage Units

20. Within 1 year before youl filed for bankruptcy, were anyl financial accounts or instruments held' ln your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares' ln banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

No
El Yes Fill in the details
Last 4 digits of account number Type of account or l Date account was Last balance before

instrument closed, sold, moved, closing or transfer
or transferred

 

Name of Financial institution

xxxx_____ _ _ __ @Checking $
Esavings
@Money market

 

Number Street

 

lEl DBrokerage
city state zlP code _`@other___

 

 

xxxx__ @cheeklng $

Name of Financial institution H
Savings

 

Number Street E]Money market
@ Brokerage

@ other

 

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for »
se rities, cash, or other valuables?
No
lJ Yes Fill in the details

 

 

 

 

 

 

 

 

 

 

- Who else had access to it? Describe the contents ~ Do you still
- ' have it?
n ‘No
Name of Financial institution Name n yes
Number Street Number Street
city state zlP code
City State ZlP Code

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

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M/ Case number (irlt”ew,,)§: ` X' %K/° 0 3 aq \ ` KC/T

Debtor 1

 

 

.H ve you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes Fill in the details

 

 

 

Who else has or had access to it? ' 7 Describe the,contents 1 Do you stiii 5

‘ have it? l

l l l

l cl No l

Name ofStorage Faciiity Name , a yes l
l

 

Number Street Number Street ` l
!
l`

cltystate zlP code i

 

city state zlP code 1 l .

wentify Property You Hold or control for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone. _ *
o
l:l Yes. Fill in the detaiis.

 

 

 

 

 

 

 

 

 

 

l
l
|
l
l
l
- Where is the property? .Describethe property Value - '
, l
Owner‘sName l $ l
' l
Number ,Street l
Number Street ',
l .
city 4 state zlP code l l z
. l l

City v State ZlP Code

Give Detalls About Environmental lnformatlon
l

 

 

For the purpose of Part 10l the following definitions appiy:

l Environmental law means any federall state, or local statute or regulation concerning poliution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium, _
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

l Site means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

 

o Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, poiiutant, contaminant, or similar tenn.

', Report ai| notices, reieases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

 

 

 

 

 

No
Cl Yes Fill in the details
_ Governmentai unit 4 ’ v l Envi_ronmental iaw, if you know it Date o_f notice
-‘ l
Name of site Govemmental unit 3
l i
Number Street Number Street

City State ZlP Code

 

 

City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

l`
l
l

 

t
v

Part 1 1: Give Detalls About Your Buslness or Connections to Any Business

Debtor 1 \

25. Have you notified any govemmentai unit of any release of hazardous materia|?

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Middle Name

\

No
El Yes Fill in the details

 

Last Name

Governmentai unit

Environmental law, if you know it

, Date of notice

 

 

Name of site

Govemmental unit

 

 

 

Number Street

Number Street

 

 

City State ZlP Code

l No
El Yes Fill in the details

Case title

 

 

Case number

City State ZlP Code

Court or agency

 

Nature of the case

` 2§'. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

Status of the
case

 

 

Court Name

l
l

 

 

l
l
Number Street l
l
l
l

City State ZlP Code

l
! n Pending

: n On appeal
§ El concluded

C? M_/ Case number (irlmewn)% "l ?" \>Q\€_'. C>BB\C\ \ ° m

 

l 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part- -time

l

 

Official Form 107

n A member of a limited liability company (LLC) or limited liability partnership (LLP)

n A partner in a partnership

n An officer, directorl or managing executive of a corporation

a An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to P

n Yes. Check ali that apply above and fil in the details below for each business.

 

Buslness Name

 

Number Street

 

 

12.

Describe the nature of the business

 

 

Name of accountant or bookkeeper

 

 

 

 

 

 

Employer ldentification number

 

 

 

 

w§_ity‘____m State ZlP Code
'Describe the nature of the business
Bus|ness Name
Number Street .
Name of accountant or_bookkeeper
City State ZlP Code

 

Employer identification number
Do not include Sociai Security number or l`iiN.

Dates business existed

From To

Do not include Sociai Security number or |TiN.

E|N: -

Dates business existed

From To

 

 

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 11

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Deb*°" ' h m 1 Case number tifmwn)_g|_&B.`M
Middle ante LastNeme

Describe the nature of the business Employer ldentmca"°n number
Do not include Sociai Security number or |11N.

 

 

 

 

 

 

 

 

Business Name

ElN: __-____,_____._.._.
Number met Name of accountant or bookkeeper Dates business existed

From To
City State ZlP Code

 

 

 

. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

No
(Ci Yes Fill in the details below.

Date issued

 

Name lle l op lYYYY

 

Number Street

 

 

City State ZlP Code

l have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000l or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

X

Signature of Debtor 2

Date

 

Did you pay or agree to pay someone who is 'not an attorney to help you fill out bankruptcy fonns?

l:lNo

Cl Yes. Name of person . Attach the Bankruptcy Pelition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

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Fill in this information to identify your case:
`o`
Debtor1

Firs ame ddle ame

Debtor 2

 

(Spouse, if illing) Frrsl Name Middle Name Last Name v

United States Bankruptcy Court for the: Centrai District of California

Casenumber z?\' /@' BI<°G?QQ_" EC_.\

(if known)

 

 

Official Form 108

Statement of lntention for individuals Filing Under Chapter 7

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Ei check if this is an

amended filing

12I15

 

if. ou are an individual filing under chapter 7, you must lfill out this form if:

_! creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

Vou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, l
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the fonn.

if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,

write your name and case number (if known).

m List Your Creditors Who Have Secured Claims

 

information below.

identify the creditor and the property that' rs collateral

Creditor’s

 

What do you intend to do with the property that

secures a debt?

 

Did you claim the property '
as exempt on Schedule C?

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

l

 

 

 

 

 

 

 

 

 

Description of

pl'OPEITY
securing debt:

 

Official Form 108

ij Retain the property and enter into a
Reaffirmation Agreement.

l;l Retain the property and [expiain]:

 

Statement of intention for individuals Filing Under Chapter 7

page 1

name: cl Surrender the property. n No §
"~"_ _ “ El Retain the property and redeem it. l:| Yes
E:);<::§);'on of m Retain the'property and enter into a
securing debt Reaffirmatlon Agreement. §
El Retain the property and [expiain]: §
Credit_°"'$ Cl Surrender the property. Cl No §
' name: _ "° l;l Retain the property and redeem it. Cl Yes
E:,sp::,§);'on of Cl Retain the_property and enter into a
Secuan debt Reaffinnatlon Agreement. §
§ n Retain the property and [expiain]: §
' §
Credit'°FS L_.l Surrender the property. Cl No §
name: _ cl Retain the property and redeem it. El Yes §
Er:;:£,von of Cl Retain the_property and enter into a §
z Securing debt Reaffirmatlon Agreement. l_
f _f_ n Retain the property and [expiain]: §
g;:ieit_°"'s Cl Surrender the property. El No
' n Retain the property and redeem it. El Yes

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6 IA'W 0/)/&/£/ d’Q &CJZ llc-bg Case‘number(/fknewn\ ?‘: [ S/ " `3 z " GBC;q/, "£(T

Debtor 1
SlEt'Name Middle Name Last Name

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

 

 

 

l Describe your unexpired personal property leases ` ' ~ » ' ' ' , _ Wiii the lease be assumed?
Lessor’s name: l:l No
'” "“” '""`"` '“ ""7` El Y /
Description of leased es
property:
§ Lessor‘s name: a No §
l ____ ___. __ ______ ___________ ._,._1__-,____- ._ ___ ____.__.. l
l ij i
§ Description of leased yes §
§ property: §
l l
l l
§ Lessor's name: i;] No §
i Description of leased cl Yes §
l property: §
l i
§ l
l Lessor's name: E| N° §
l .
§ des §
§ Description of leased
§ property: - §
f
j Lessor's name: n No §
l .
§ “"""' """" """”""”`""`“"`w"' ”` "'” "°'"`"`““" "`°""`""""' `" """“'“’""“ """"""" El Yes §
, Description of leased t
§ property: §
l :
§ Lessor‘s name: Cl No §
l _ '> __
§ _ _ n Yes §
§ Descrlptlon of leased l
§ property: §
l
f Lessor's name: [;| No

 

§ Description of leased
§ property:

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired iease.

l
l
l
n ¥es §
l
l

X X

 

 

Signature of Debtor1 Signature of Debtor 2 -
_____,/»»"D fe______ Date______
"'" // iMM/ DD / YYYY MM/ DD/ YYYY

l
Official Fbm 108 Statement of intention for individuals Filing Under Chapter 7 page 2

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BANK OF AMER|CA
4909 SAVARESE ClR
TAMPA, FL 33634

CAP|TAL ONE
15000 CAP|TAL ONE DR|VE
RlCHMOND, VA 23238

LADCO LEAS|NG
555 ST CHARLES PLACE
THOUSAND OAKS, CA 91360

PLAT|NUM AUTO FlNANCE
24639 US HlGHWAY 19 N
CLEARWATER,FL 33763

SANTANDER CONSUMER USA
PO BOX 9612'45
FT WORTH, TX 76161

VER|ZON
PO BOX 650584
DALLAS, TX 75265

AR RESOURCES lNC
1777 SENTRY PKWY W
BLUE BELL, PA 19422

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CA|:§|TAL COLLECTION SERV|CE
20 E TAUNTON RD #BlLGSO
BERL|N, NJ 08009

COMMONWEALTH FlNANClAL
245 MA|N ST
DlCKSON ClTY, PA18519

CRED|T CONTROL SERV|CE
725 CANTON ST
NORWOOD, MA 02062

CREDIT MANAGEMENT LP
4200 lNTERNATlCNAL PKWY
CARROLLTON, TX 75007

ENHANCED RECOVERY CO L
8014 BAYBERRY RD
JACKSONV|LLE, FL 32256

l C SYSTEM lNC
PO BOX 64378
SA|NT PAUL, MN 55164

MlDWEST RECOVERY SYSTEM
2747 W CLAY STREET STE A
SA|NT CHARLES, MO 63301

